Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20   Page 1 of 203 PageID 1106




                        APPENDIX
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20   Page 2 of 203 PageID 1107




                        EXHIBIT A
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                 Page 3 of 203 PageID 1108



                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                     §
RANDSTAD GENERAL PARTNER             §
(US), LLC and RANDSTAD TECHNOLOGIES, §
LLC.                                 §
                                     §
                 Plaintiffs,         §
                                     §                          CIVIL ACTION FILE NO.:
v.                                   §                             3:20-cv-02814-N
                                     §
BEACON HILL STAFFING GROUP, LLC,     §
SHAWNA BESTREICH, ANDREW WANG,       §
and DOES 1-10.                       §
                                     §
                 Defendants.         §


                  PLAINTIFFS’ FIRST SET OF INTERROGATORIES
               TO DEFENDANT BEACON HILL STAFFING GROUP, LLC

       Plaintiffs Randstad General Partner (US), LLC (“Randstad General Staffing”) and

Randstad Technologies, LLC (“Randstad Technologies” and, with Randstad General Staffing,

“Randstad”), pursuant to Rule 33 of the Federal Rules of Civil Procedure, hereby propounds the

following interrogatories upon Defendant Beacon Hill Staffing Group, LLC (“Beacon Hill”), and

requests that these interrogatories be answered separately, fully, and under oath, and be delivered

to Estes Thorne & Carr PLLC, 3811 Turtle Creek Blvd, Suite 2000, Dallas, TX 75219 in

accordance with the deadline set by the Texas Rules of Civil Procedure.

                            DEFINITIONS AND INSTRUCTIONS

       A.      These Interrogatories are continuing discovery requests, and require timely

supplementation should additional information be obtained at any time between the time of

answering and the time of trial.
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                 Page 4 of 203 PageID 1109



       B.      If you object to answering any Interrogatory on the basis of the attorney client

privilege, please state the following:

               a.      The identity of the attorney and client as to whom that privilege is
                       claimed, and the date, author, and recipient of each document or
                       communication as to which objection is interposed;

               b.      The identity of all persons having knowledge of any facts that you claim
                       are privileged or otherwise protected from disclosure; and

               c.      The basis for your claim that any document, communication or
                       information is protected from disclosure by the attorney client privilege.

       C.      If you object to answering any Interrogatory in whole or in part on the basis of the

work product doctrine, please state the following:

               a.      The basis for your claim that such information constitutes attorney work
                       product;

               b.      The identity of each attorney claimed to have contributed to the material
                       being claimed as work product; and

               c.      The identity of all persons having knowledge of any facts that you claim
                       to be protected as attorney work product.

       D.      The remaining instructions and definitions contained in Randstad’s First Set of

Requests for Production to Beacon Hill are incorporated herein as if fully restated.

                                         INTERROGATORIES

INTERROGATORY NO. 1:

         Identify every Randstad employee you have hired since January 1, 2014. For each
employee, provide the employee’s name, title at Beacon Hill, whether the employee had a
restrictive covenant agreement with Randstad, whether Beacon Hill agreed to indemnify the
employee in the event that Randstad filed a lawsuit against the employee and/or Beacon Hill,
whether the employee has a restrictive covenant agreement with Beacon Hill, and which Beacon
Hill employee(s) made the decision to hire that employee.

ANSWER:




                                                -2-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20              Page 5 of 203 PageID 1110



INTERROGATORY NO. 2:

       Has Beacon Hill, at any point since January 1, 2014, considered or implemented
measures to screen whether candidates for employment with Beacon Hill are subject to an
agreement that contains restrictive covenants? If so, describe the measures considered or
implemented, when Beacon Hill implemented the measures, when Beacon Hill stopped the
measures, whether the measures were limited to a particular division of Beacon Hill, and who
was involved in the decision to implement or not implement such measures.

ANSWER:



INTERROGATORY NO. 3:

       Describe in detail any measures that Beacon Hill takes to avoid hiring employees in a
role that violates a restrictive covenant agreement. For each such measure, describe when
Beacon Hill implemented the measure, if/when Beacon Hill stopped the measure, whether the
measure is limited to a particular division of Beacon Hill, and the individuals involved in the
decision to implement the measure.

ANSWER:



INTERROGATORY NO. 4:

      Does Beacon Hill contend that it takes adequate measures to avoid violating restrictive
covenant agreements? If so, identify the facts that support your contention.

ANSWER:



INTERROGATORY NO. 5:

         Has Beacon Hill, at any point since January 1, 2014, considered or implemented
measures to screen an employee from contacting particular customers, competing in certain
territories, or contacting former co-workers? If so, describe the measures considered or
implemented, when Beacon Hill implemented the measures, when Beacon Hill stopped the
measures, and who was involved in the decision to implement or not implement such measures.

ANSWER:




                                              -3-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20               Page 6 of 203 PageID 1111



INTERROGATORY NO. 6:

        Since January 1, 2014, how many times has Beacon Hill decided to hire an individual
even though the individual is subject to a restrictive covenant agreement? For each individual,
identify the individual, the individual’s former employer and role, the agreement at issue, and
any advice regarding the agreement’s enforceability that Beacon Hill received from internal or
outside counsel (if the advice was communicated to persons or entities other than Beacon Hill
and its outside counsel).

ANSWER:



INTERROGATORY NO. 7:

      Since January 1, 2014, identify every lawsuit where Beacon Hill was sued by a company
where the company alleged that Beacon Hill tortiously interfered with a restrictive covenant
agreement. For each lawsuit, identify the style, the claims asserted against Beacon Hill, and the
outcome.

ANSWER:



INTERROGATORY NO. 8:

       Identify every new office or line of business opened by Beacon Hill since January 1,
2014. For each, identify the first five employees hired, the five employees’ immediate prior
employer, whether the employees had restrictive covenant agreements, and whether Beacon Hill
received a cease and desist letter from the five employees’ immediate prior employer.

ANSWER:



INTERROGATORY NO. 9:

       To the extent not otherwise produced, identify all communications involving one or more
members of the Beacon Hill Management Team regarding Randstad’s restrictive covenant
agreements and/or Beacon Hill’s efforts, if any, to comply with restrictive covenants. This
request is limited to communications on or after January 1, 2014.

ANSWER:




                                               -4-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                 Page 7 of 203 PageID 1112



INTERROGATORY NO. 10:

         To the extent not otherwise produced, identify and describe all communications involving
one or more members of the Beacon Hill Management Team regarding the response or course of
conduct in response to a cease and desist letter received regarding an alleged violation of a
restrictive covenant agreement.

ANSWER:



INTERROGATORY NO. 11:

        Since January 1, 2014, is Beacon Hill aware of any instance where a Beacon Hill
employee told or recommended that a future or new employee not change his or her LinkedIn
profile to reflect that he or she was now employed by Beacon Hill? For each such instance,
identify the employees involved, the communication, any related documents, and the reason why
the Beacon Hill employee told the new employee to not change his or her LinkedIn profile.

ANSWER:



INTERROGATORY NO. 12:

         Identify every agreement you entered into in connection with actual or potential litigation
that included a no-hire provision, employee non-solicitation provision, or similar provision
restricting your ability to hire or solicit for hire the employees of another staffing company.

ANSWER:



INTERROGATORY NO. 13:

        Since April 1, 2019, describe in detail any action taken by Beacon Hill in response to a
cease and desist letter Beacon Hill received from Randstad. This interrogatory excludes
communications between Beacon Hill and outside counsel retained in connection with the
subject matter of the communication.

ANSWER:

                               [signature block on following page]




                                                -5-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20      Page 8 of 203 PageID 1113



      Respectfully submitted,

                                   /s/ Alex Meier
                                   Dawn Estes
                                   State Bar No. 14251350
                                   Terah Moxley
                                   Texas Bar No. 24074768
                                   ESTES THORNE & CARR PLLC
                                   3811 Turtle Creek Blvd
                                   Suite 2000
                                   Dallas, Texas 75219
                                   destes@estesthornecarr.com
                                   tmoxley@estesthornecarr.com
                                   Telephone: (214) 599-4000
                                   Facsimile: (214) 599-4099

                                   Of Counsel

                                   Robert C. Stevens (Georgia Bar No. 680142)
                                   (Admitted pro hac vice)
                                   bstevens@seyfarth.com
                                   Alex Meier (Georgia Bar No. 282350)
                                   ameier@seyfarth.com
                                   (Admitted pro hac vice)
                                   SEYFARTH SHAW LLP
                                   1075 Peachtree Street, N.E.
                                   Suite 2500
                                   Atlanta, Georgia 30309-3962
                                   Telephone: (404) 885-1500
                                   Facsimile: (404) 892-7056

                                   Erik W. Weibust
                                   (Admitted pro hac vice)
                                   eweibust@seyfarth.com
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                                   Two Seaport Lane, Suite 300
                                   Boston, Massachusetts 02210
                                   Telephone: (617) 946-4800
                                   Facsimile: (617) 946-4801

                                   Counsel for Plaintiffs
Dated: November 10, 2020




                                     -6-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                  Page 9 of 203 PageID 1114



                                 CERTIFICATE OF SERVICE

         I certify that, on November 10, 2020, I caused a true and correct copy of the foregoing

PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO DEFENDANT BEACON HILL

STAFFING GROUP, LLC to be emailed to the following counsel of record:

                              Benjamin I. Fink
                              bfink@bfvlaw.com
                              Lea C. Dearing
                              ldearing@bfvlaw.com
                              BERMAN FINK VAN HORN, P.C.
                              3475 Piedmont Road, N.E.
                              Suite 1100
                              Atlanta, Georgia 30305


                                                       /s/ Alex Meier
                                                       Alex Meier
                                                       Counsel for Plaintiffs




  65419669v.1                                    -7-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20   Page 10 of 203 PageID 1115




                        EXHIBIT B
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                Page 11 of 203 PageID 1116



                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                      §
 RANDSTAD GENERAL PARTNER             §
 (US), LLC and RANDSTAD TECHNOLOGIES, §
 LLC.                                 §
                                      §
                  Plaintiffs,         §
                                      §                         CIVIL ACTION FILE NO.:
 v.                                   §                            3:20-cv-02814-N
                                      §
 BEACON HILL STAFFING GROUP, LLC,     §
 SHAWNA BESTREICH, ANDREW WANG,       §
 and DOES 1-10.                       §
                                      §
                  Defendants.         §



                     PLAINTIFFS’ FIRST SET OF INTERROGATORIES
                         TO DEFENDANT SHAWNA BESTREICH

        Plaintiffs Randstad General Partner (US), LLC (“Randstad General Staffing”) and

 Randstad Technologies, LLC (“Randstad Technologies” and, with Randstad General Staffing,

 “Randstad”), pursuant to Rule 33 of the Federal Rules of Civil Procedure, hereby propounds the

 following interrogatories upon Defendant Shawna Bestreich and requests that these

 interrogatories be answered separately, fully, and under oath, and be delivered to Estes Thorne &

 Carr PLLC, 3811 Turtle Creek Blvd, Suite 2000, Dallas, TX 75219.

                             DEFINITIONS AND INSTRUCTIONS

        A.      These Interrogatories are continuing discovery requests, and require timely

 supplementation should additional information be obtained at any time between the time of

 answering and the time of trial.

        B.      If you object to answering any Interrogatory on the basis of the attorney client

 privilege, please state the following:
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                 Page 12 of 203 PageID 1117



                a.     The identity of the attorney and client as to whom that privilege is
                       claimed, and the date, author, and recipient of each document or
                       communication as to which objection is interposed;

                b.     The identity of all persons having knowledge of any facts that you claim
                       are privileged or otherwise protected from disclosure; and

                c.     The basis for your claim that any document, communication or
                       information is protected from disclosure by the attorney client privilege.

        C.      If you object to answering any Interrogatory in whole or in part on the basis of the

 work product doctrine, please state the following:

                a.     The basis for your claim that such information constitutes attorney work
                       product;

                b.     The identity of each attorney claimed to have contributed to the material
                       being claimed as work product; and

                c.     The identity of all persons having knowledge of any facts that you claim
                       to be protected as attorney work product.

        D.      The remaining instructions and definitions contained in Randstad’s First Set of

 Requests for Production to Shawna Bestreich are incorporated herein as if fully restated.

                                     INTERROGATORIES

 INTERROGATORY NO. 1:

        Describe in detail your involvement in encouraging Shauna Mooney to join Beacon Hill
 and in Beacon Hill’s interview process for Shauna Mooney.

 ANSWER:



 INTERROGATORY NO. 2:

       Identify the date on which you became aware that Shauna Mooney and a restrictive
 covenant agreement with Randstad.

 ANSWER:




                                                 -2-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20              Page 13 of 203 PageID 1118



 INTERROGATORY NO. 3:

         Describe in detail any measures that you took, or that Beacon Hill took, to avoid
 violations of Shauna Mooney’s restrictive covenant agreements.

 ANSWER:



 INTERROGATORY NO. 4:

        Identify every customer, placement candidate, and talent with whom Shauna Mooney
 contacted or interacted with at Beacon Hill that she also contacted or interacted with when she
 was employed by Randstad.

 ANSWER:



 INTERROGATORY NO. 5:

       Do you contend that Beacon Hill takes adequate measures to avoid violating restrictive
 covenant agreements? If so, identify the facts that support your contention.

 ANSWER:



                               [signature block on following page]




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Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20      Page 14 of 203 PageID 1119



       Respectfully submitted,

                                    /s/ Alex Meier
                                    Dawn Estes
                                    State Bar No. 14251350
                                    Terah Moxley
                                    Texas Bar No. 24074768
                                    ESTES THORNE & CARR PLLC
                                    3811 Turtle Creek Blvd
                                    Suite 2000
                                    Dallas, Texas 75219
                                    destes@estesthornecarr.com
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                                    Telephone: (214) 599-4000
                                    Facsimile: (214) 599-4099

                                    Of Counsel

                                    Robert C. Stevens (Georgia Bar No. 680142)
                                    (Admitted pro hac vice)
                                    bstevens@seyfarth.com
                                    Alex Meier (Georgia Bar No. 282350)
                                    ameier@seyfarth.com
                                    (Admitted pro hac vice)
                                    SEYFARTH SHAW LLP
                                    1075 Peachtree Street, N.E.
                                    Suite 2500
                                    Atlanta, Georgia 30309-3962
                                    Telephone: (404) 885-1500
                                    Facsimile: (404) 892-7056

                                    Erik W. Weibust
                                    (Admitted pro hac vice)
                                    eweibust@seyfarth.com
                                    SEYFARTH SHAW LLP
                                    Two Seaport Lane, Suite 300
                                    Boston, Massachusetts 02210
                                    Telephone: (617) 946-4800
                                    Facsimile: (617) 946-4801

                                    Counsel for Plaintiffs
 Dated: November 10, 2020




                                      -4-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                  Page 15 of 203 PageID 1120



                                 CERTIFICATE OF SERVICE

         I certify that, on November 10, 2020, I caused a true and correct copy of the foregoing

 PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO DEFENDANT SHAWNA

 BESTREICH to be emailed to the following counsel of record:

                              Benjamin I. Fink
                              bfink@bfvlaw.com
                              Lea C. Dearing
                              ldearing@bfvlaw.com
                              BERMAN FINK VAN HORN, P.C.
                              3475 Piedmont Road, N.E.
                              Suite 1100
                              Atlanta, Georgia 30305


                                                       /s/ Alex Meier
                                                       Alex Meier
                                                       Counsel for Plaintiffs




  65732859v.1                                    -5-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20   Page 16 of 203 PageID 1121




                        EXHIBIT C
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20              Page 17 of 203 PageID 1122



                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                      §
 RANDSTAD GENERAL PARTNER             §
 (US), LLC and RANDSTAD TECHNOLOGIES, §
 LLC.                                 §
                                      §
                  Plaintiffs,         §
                                      §                        CIVIL ACTION FILE NO.:
 v.                                   §                           3:20-cv-02814-N
                                      §
 BEACON HILL STAFFING GROUP, LLC,     §
 SHAWNA BESTREICH, ANDREW WANG,       §
 and DOES 1-10.                       §
                                      §
                  Defendants.         §


                     PLAINTIFFS’ FIRST SET OF INTERROGATORIES
                           TO DEFENDANT ANDREW WANG

        Plaintiffs Randstad General Partner (US), LLC (“Randstad General Staffing”) and

 Randstad Technologies, LLC (“Randstad Technologies” and, with Randstad General Staffing,

 “Randstad”), pursuant to Rule 33 of the Federal Rules of Civil Procedure, propounds the

 following interrogatories upon Defendant Andrew Wang and requests that these interrogatories

 be answered separately, fully, and under oath, and be delivered to Estes Thorne & Carr PLLC,

 3811 Turtle Creek Blvd, Suite 2000, Dallas, TX 75219.

                             DEFINITIONS AND INSTRUCTIONS

        A.      These Interrogatories are continuing discovery requests, and require timely

 supplementation should additional information be obtained at any time between the time of

 answering and the time of trial.

        B.      If you object to answering any Interrogatory on the basis of the attorney client

 privilege, please state the following:
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                 Page 18 of 203 PageID 1123



                a.     The identity of the attorney and client as to whom that privilege is
                       claimed, and the date, author, and recipient of each document or
                       communication as to which objection is interposed;

                b.     The identity of all persons having knowledge of any facts that you claim
                       are privileged or otherwise protected from disclosure; and

                c.     The basis for your claim that any document, communication or
                       information is protected from disclosure by the attorney client privilege.

        C.      If you object to answering any Interrogatory in whole or in part on the basis of the

 work product doctrine, please state the following:

                a.     The basis for your claim that such information constitutes attorney work
                       product;

                b.     The identity of each attorney claimed to have contributed to the material
                       being claimed as work product; and

                c.     The identity of all persons having knowledge of any facts that you claim
                       to be protected as attorney work product.

        D.      The remaining instructions and definitions contained in Randstad’s First Set of

 Requests for Production to Andrew Wang are incorporated herein as if fully restated.

                                     INTERROGATORIES

 INTERROGATORY NO. 1:

        Describe in detail your role in Beacon Hill’s hiring process.

 ANSWER:



 INTERROGATORY NO. 2:

        Has Beacon Hill, at any point since January 1, 2014, considered or implemented
 measures to screen whether candidates for employment with Beacon Hill are subject to an
 agreement that contains restrictive covenants? If so, describe the measures considered or
 implemented, when Beacon Hill implemented the measures, when Beacon Hill stopped the
 measures, whether the measures were limited to a particular division of Beacon Hill, and who
 was involved in the decision to implement or not implement such measures.




                                                 -2-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20              Page 19 of 203 PageID 1124



 ANSWER:



 INTERROGATORY NO. 3:

        Describe in detail any measures that Beacon Hill takes to avoid hiring employees in a
 role that violates a restrictive covenant agreement. For each such measure, describe when
 Beacon Hill implemented the measure, if/when Beacon Hill stopped the measure, whether the
 measure is limited to a particular division of Beacon Hill, and the individuals involved in the
 decision to implement the measure.

 ANSWER:



 INTERROGATORY NO. 4:

       Do you contend that Beacon Hill takes adequate measures to avoid violating restrictive
 covenant agreements? If so, identify the facts that support your contention.

 ANSWER:



 INTERROGATORY NO. 5:

          Has Beacon Hill, at any point since January 1, 2014, considered or implemented
 measures to screen an employee from contacting particular customers, competing in certain
 territories, or contacting former co-workers? If so, describe the measures considered or
 implemented, when Beacon Hill implemented the measures, when Beacon Hill stopped the
 measures, and who was involved in the decision to implement or not implement such measures.

 ANSWER:



 INTERROGATORY NO. 6:

         Since January 1, 2014, how many times has Beacon Hill decided to hire an individual
 even though the individual is subject to a restrictive covenant agreement? For each individual,
 identify the individual, the individual’s former employer and role, the agreement at issue, and
 any advice regarding the agreement’s enforceability that Beacon Hill received from internal or
 outside counsel (if the advice was communicated to persons or entities other than Beacon Hill
 and its outside counsel).




                                               -3-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                Page 20 of 203 PageID 1125



 ANSWER:



 INTERROGATORY NO. 7:

        To the extent not otherwise produced, identify all communications between you and any
 other member of the Beacon Hill Management Team regarding Randstad’s restrictive covenant
 agreements and/or Beacon Hill’s efforts, if any, to comply with restrictive covenants. This
 request is limited to communications on or after January 1, 2014.

 ANSWER:



 INTERROGATORY NO. 8:

        Identify whether you disagree that Beacon Hill has been sued a disproportionate number
 of times relative to its size and workforce and describe in detail the basis for your answer.

 ANSWER:



 INTERROGATORY NO. 9:

          Excluding conversations with Beacon Hill’s counsel, have you rejected any
 recommendations from any entity to take measures to prevent Beacon Hill from violating
 restrictive covenants? If so, please describe the recommendations, the date you received the
 recommendations, and why you rejected them.

 ANSWER:



 INTERROGATORY NO. 10:

          To the extent not otherwise produced, identify and describe all communications involving
 one or more members of the Beacon Hill Management Team regarding the response or course of
 conduct in response to a cease and desist letter received regarding an alleged violation of a
 restrictive covenant agreement.

 ANSWER:




                                                -4-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                Page 21 of 203 PageID 1126



 INTERROGATORY NO. 11:

        Describe your opinion, philosophy, or perspective about restrictive covenants, including
 your understanding of the difference between non-competes and non-solicits, whether you
 believe that employees may be restricted from competing in a specified territory, and whether
 you believe that employees at staffing companies obtain customer relationships or confidential
 information through their employment.

 ANSWER:



 INTERROGATORY NO. 12:

        Since January 1, 2014, are you aware of any instance where a Beacon Hill employee told
 or recommended that a future or new employee not change his or her LinkedIn profile to reflect
 that he or she was now employed by Beacon Hill? For each such instance, identify the
 employees involved, the communication, any related documents, and the reason why the Beacon
 Hill employee told the new employee to not change his or her LinkedIn profile.

 ANSWER:



 INTERROGATORY NO. 13:

        Describe in detail your role in Beacon Hill’s hiring of Shauna Mooney.

 ANSWER:



 INTERROGATORY NO. 14:

         Identify every individual who you believe has knowledge relevant to the issues presented
 in this litigation. For each such individual, provide their name, contact information, and a brief
 summary of the information that such individual has or may have.

 ANSWER:

                               [signature block on following page]




                                                -5-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20      Page 22 of 203 PageID 1127



       Respectfully submitted,

                                    /s/ Alex Meier
                                    Dawn Estes
                                    State Bar No. 14251350
                                    Terah Moxley
                                    Texas Bar No. 24074768
                                    ESTES THORNE & CARR PLLC
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                                    Of Counsel

                                    Robert C. Stevens (Georgia Bar No. 680142)
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                                    Alex Meier (Georgia Bar No. 282350)
                                    ameier@seyfarth.com
                                    (Admitted pro hac vice)
                                    SEYFARTH SHAW LLP
                                    1075 Peachtree Street, N.E.
                                    Suite 2500
                                    Atlanta, Georgia 30309-3962
                                    Telephone: (404) 885-1500
                                    Facsimile: (404) 892-7056

                                    Erik W. Weibust
                                    (Admitted pro hac vice)
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                                    SEYFARTH SHAW LLP
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                                    Boston, Massachusetts 02210
                                    Telephone: (617) 946-4800
                                    Facsimile: (617) 946-4801

                                    Counsel for Plaintiffs
 Dated: November 10, 2020




                                      -6-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                   Page 23 of 203 PageID 1128



                                  CERTIFICATE OF SERVICE

          I certify that, on November 10, 2020, I caused a true and correct copy of the foregoing

 PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO DEFENDANT ANDREW WANG to

 be emailed to the following counsel of record:

                               Benjamin I. Fink
                               bfink@bfvlaw.com
                               Lea C. Dearing
                               ldearing@bfvlaw.com
                               BERMAN FINK VAN HORN, P.C.
                               3475 Piedmont Road, N.E.
                               Suite 1100
                               Atlanta, Georgia 30305


                                                        /s/ Alex Meier
                                                        Alex Meier
                                                        Counsel for Plaintiffs




                                                  -7-
 65712883v.1
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20   Page 24 of 203 PageID 1129




                        EXHIBIT D
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                  Page 25 of 203 PageID 1130



                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                      §
 RANDSTAD GENERAL PARTNER             §
 (US), LLC and RANDSTAD TECHNOLOGIES, §
 LLC.                                 §
                                      §
                  Plaintiffs,         §
                                      §                           CIVIL ACTION FILE NO.:
 v.                                   §                              3:20-cv-02814-N
                                      §
 BEACON HILL STAFFING GROUP, LLC,     §
 SHAWNA BESTREICH, ANDREW WANG,       §
 and DOES 1-10.                       §
                                      §
                  Defendants.         §


             PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION TO
                 DEFENDANT BEACON HILL STAFFING GROUP, LLC

        Plaintiffs Randstad General Partner (US), LLC (“Randstad General Staffing”) and

 Randstad Technologies, LLC (“Randstad Technologies” and, with Randstad General Staffing,

 “Randstad”), pursuant to Rule 34 of the Federal Rules of Civil Procedure, propounds the

 following requests for production upon Defendant Beacon Hill Staffing Group, LLC (“Beacon

 Hill”), and requests that these requests be answered separately, fully, and under oath, and be

 delivered to Estes Thorne & Carr PLLC, 3811 Turtle Creek Blvd, Suite 2000, Dallas, TX 75219.

                             DEFINITIONS AND INSTRUCTIONS

        A.      The term “document” is defined as to reach all written or printed matter and

 recordings, including, but not limited to, writings, drawings, graphs, charts, photographs,

 videotapes, computerized records and files, electronic mail, tape recordings, and any other data

 from which information can be obtained or translated, if necessary, by you through detection
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                  Page 26 of 203 PageID 1131



 devices into a reasonably usable form. The term also includes all drafts, alterations,

 modifications, and non-identical copies of the foregoing.

        B.      The terms “you,” “your,” and “Beacon Hill” refer to Beacon Hill Staffing Group,

 LLC and its owners, directors, officers, partners, employees, representatives, agents, attorneys,

 or assigns, collectively and individually.

        C.      The term “Randstad” refers to Randstad General Staffing and Randstad

 Technologies and their owners, directors, officers, partners, employees, representatives, agents,

 attorneys, or assigns, collectively and individually.

        D.      The term “Randstad Companies” refers to Randstad General Staffing, Randstad

 Technologies, Randstad Professionals, Randstad Corporate Services, Spherion, and Randstad

 Sourceright.

        E.      The term “Former Randstad Employees” includes all Beacon Hill employees who

 were formerly employed at Randstad and includes, but is not limited to, the individuals identified

 in Paragraph No. 71 of Randstad’s Complaint.

        F.      The term “Randstad Customers” refers to, with respect to each Former Randstad

 Employee, customers with whom the Former Randstad Employee had material contact on behalf

 of Randstad in the year prior to such Former Randstad Employee’s separation from Randstad.

        G.      The term “Randstad Talent” refers to, with respect to each Former Randstad

 Employee, placement candidates and temporary staffing candidates who the Former Randstad

 Employee, in the year prior to such Former Randstad Employee’s separation from Randstad,

 placed with any Randstad Customer.

        H.      The term “Beacon Hill Management Team” refers to the following individuals:

 Andrew Wang, Charlie Cain, Joanna Foulk, Amy Van Sicklin, Jeff McLaren, Ryan Pirnat,




                                                  -2-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                    Page 27 of 203 PageID 1132



 Kathleen Keliher, John Williams, Aaron Mace, and any member of Beacon Hill’s Executive

 Committee not previously identified.

        I.      The term “person” refers to and includes a natural person, individual, partnership,

 firm, corporation, or any kind of business or legal entity, its agents and/or employees.

        J.      The term “concerning” means relating to, referring to, reflecting, describing,

 evidencing or constituting.

        K.      In construing these requests: (i) the singular shall include the plural and the plural

 shall include the singular; (ii) the masculine, feminine, or neutral pronouns, respectively, shall

 include the other genders; (iii) “and” as well as “or” shall be construed either disjunctively or

 conjunctively so as to bring within the scope of these requests all documents that might

 otherwise be construed to be outside their scope; and (iv) the present tense of a verb shall include

 its past tense and vice versa.

        L.      The word “all” shall be construed to include the word “any” and the word “any”

 shall be construed to include the word “all.”

        M.      For any and all documents described in these requests which are withheld on the

 grounds of privilege, work product or otherwise, provide an index of the withheld documents

 which identifies the document, including, without limitation, the names of the authors and

 recipients of the document, the date of the document, the subject of the communication, and the

 reason for non-production.

        N.      If any document requested herein was, but no longer is, in your possession,

 custody or control, please fully identify each such document, and indicate (a) when and how it

 ceased to be in your possession, custody, or control; (b) whether it is still in existence; and (c) if

 so, its custodian and present location.




                                                   -3-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                Page 28 of 203 PageID 1133



        O.      Unless otherwise noted, the relevant timeframe for the requests is from January 1,

 2014 to the present.

                        REQUESTS FOR DOCUMENTS AND THINGS

 REQUEST NO. 1:

         All personnel files and any other personnel records, including, but not limited to IRS
 Forms W-2 and 1099, new hire documentation, travel reimbursement documentation and
 relocation documentation for the Former Randstad Employees.

 RESPONSE:



 REQUEST NO. 2:

        All documents involving at least one member of the Beacon Hill Management Team
 regarding restrictive covenants, concerns or discussions about hiring Randstad employees, actual
 or potential litigation against Beacon Hill in connection with restrictive covenants, and/or
 Beacon Hill’s expenses incurred in connection with restrictive covenant litigation.

 RESPONSE:



 REQUEST NO. 3:

        All documents relating to, bearing upon, or evidencing any communications (oral or in
 writing) between Beacon Hill and the Former Randstad Employees concerning Beacon Hill,
 Beacon Hill’s business, and/or prospective employment with Beacon Hill prior to her/his hire
 date.

 RESPONSE:



 REQUEST NO. 4:

        All documents relating to, bearing upon, or evidencing any communications (oral or in
 writing) between Beacon Hill and the Former Randstad Employees concerning Randstad,
 Randstad’s business, or such employee’s employment with Randstad.

 RESPONSE:




                                                -4-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                Page 29 of 203 PageID 1134



 REQUEST NO. 5:

          All documents relating to, bearing upon, or evidencing any communications (oral or in
 writing) between Beacon Hill and any Former Randstad Employee regarding the employee’s
 restrictive covenant agreement.

 RESPONSE:



 REQUEST NO. 6:

        All documents relating to, bearing upon, or evidencing any communications (oral or in
 writing) between Beacon Hill and any current or Former Randstad Employees from January 1,
 2014 to the present regarding employment or potential employment with Beacon Hill or
 resignation of employment with a Randstad Company.

 RESPONSE:



 REQUEST NO. 7:

        All documents relating to, bearing upon, or evidencing any communications (oral or in
 writing) relating to any restrictions placed on a new hire relating to that new hire’s ability to
 compete in a certain geographic territory, to solicit customers, or to solicit employees.

 RESPONSE:



 REQUEST NO. 8:

       Copies of job descriptions for any position for which Beacon Hill has hired a Randstad
 employee.

 RESPONSE:



 REQUEST NO. 9:

        Documents sufficient to show Beacon Hill’s organizational and corporate structure,
 including its members.

 RESPONSE:




                                               -5-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                  Page 30 of 203 PageID 1135



 REQUEST NO. 10:

         All documents created or modified since January 1, 2014 relating to Beacon Hill’s budget
 or forecasting for trade secrets or restrictive covenants litigation.

 RESPONSE:



 REQUEST NO. 11:

          Documents sufficient to determine Beacon Hill’s expenses related to trade secrets and/or
 restrictive covenants litigation for the last five years. A yearly or month-by-month summary is
 sufficient to satisfy this request.

 RESPONSE:



 REQUEST NO. 12:

       All internal strategy documents since January 1, 2014 that relate to Randstad as a
 competitor or source of employees.

 RESPONSE:



 REQUEST NO. 13:

         All internal strategy documents since January 1, 2014 that relate to or discuss Beacon
 Hill’s lateral hiring strategy, trade secrets, or restrictive covenants.

 RESPONSE:



 REQUEST NO. 14:

         All documents since January 1, 2014 where Beacon Hill instructed a person to conceal
 and/or not to disclose the person’s affiliation or future affiliation with Beacon Hill, such as
 instructing the person to not update their LinkedIn profile or to not disclose that the person is or
 will be employed by Beacon Hill.

 RESPONSE:




                                                 -6-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                Page 31 of 203 PageID 1136



 REQUEST NO. 15:

         All interrogatory answers provided by Beacon Hill in any litigation where a party
 asserted a claim for tortious interference with a contract or misappropriation of trade secrets
 against Beacon Hill since January 1, 2010.

 RESPONSE:



 REQUEST NO. 16:

         All depositions of Beacon Hill employees or corporate representatives in any litigation
 where a party asserted a claim for tortious interference with a contract or misappropriation of
 trade secrets against Beacon Hill since January 1, 2010.

 RESPONSE:



 REQUEST NO. 17:

         All settlement agreements in any litigation where a party asserted a claim for tortious
 interference with a contract or misappropriation of trade secrets against Beacon Hill since
 January 1, 2010.

 RESPONSE:



 REQUEST NO. 18:

        All documents containing advice regarding the enforceability of restrictive covenants that
 were sent to someone, including via email and cc’d email, other than a current Beacon Hill
 employee or Beacon Hill’s outside counsel.

 RESPONSE:



 REQUEST NO. 19:

        All documents regarding the potential hiring of any Former Randstad Employee and any
 attorney from either Eckert Seamans Cherin & Mellott, LLC or Berman Fink Van Horn P.C.

 RESPONSE:




                                               -7-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                  Page 32 of 203 PageID 1137



 REQUEST NO. 20:

         All documents relating to a decision by Beacon Hill to permit or encourage an employee
 to ignore or violate a restrictive covenant agreement with the employee’s former employer.

 RESPONSE:



 REQUEST NO. 21:

        A copy of Beacon Hill’s E-Recruit entries for all Former Randstad Employees entered in
 the 60-day period following the commencement of such employee’s employment with Beacon
 Hill.

 RESPONSE:



 REQUEST NO. 22:

         All documents and communications received by Andy Wang regarding his and/or Beacon
 Hill’s receipt of any cease and desist letter sent by or on behalf of Randstad since January 1,
 2014.

 RESPONSE:



 REQUEST NO. 23:

          All documents and communications regarding Beacon Hill’s receipt of any cease and
 desist letter sent by or on behalf of Randstad since January 1, 2014.

 RESPONSE:



 REQUEST NO. 24:

         All documents and communications sent or received since January 1, 2014 where Steven
 Drooker, Andy Wang, Charlie Cain, and/or the individual(s) with settlement authority in any
 lawsuit filed against Beacon Hill for restrictive covenant violations describe or discuss Beacon
 Hill’s and/or his or her position or beliefs about covenants restricting competition or solicitation.

 RESPONSE:




                                                 -8-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                  Page 33 of 203 PageID 1138



 REQUEST NO. 25:

         All documents and communications regarding Beacon Hill’s acceptance and/or
 implementation of any no-hire or employee non-solicitation provision in a settlement agreement
 or other agreement ancillary to the resolution of actual or potential litigation. This request is
 limited to no-hire agreements implemented on or after January 1, 2010.

 RESPONSE:



 REQUEST NO. 26:

        All documents and communications regarding Beacon Hill’s hiring of Shauna Mooney,
 including, but not limited to, her interview process, her offer letter, and her restrictive covenant
 agreement with Randstad.

 RESPONSE:



 REQUEST NO. 27:

        All documents and communications regarding the decision to rescind Shauna Mooney’s

 offer and/or the subsequent decision to reinstate Shauna Mooney’s offer.

 RESPONSE:



 REQUEST NO. 28:

         A copy of all E-Recruit entries added by Shauna Mooney in the 60-day period following
 her start date at Beacon Hill.

 RESPONSE:



 REQUEST NO. 29:

         Documents sufficient to identify the clients that Shauna Mooney has contacted since
 joining Beacon Hill.

 RESPONSE:




                                                 -9-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20     Page 34 of 203 PageID 1139



 REQUEST NO. 30:

         Any and all documents relating to your Answers to Randstad’s First Set of
 Interrogatories.

 RESPONSE:




                                       -10-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20      Page 35 of 203 PageID 1140



       Respectfully submitted,

                                    /s/ Alex Meier
                                    Dawn Estes
                                    State Bar No. 14251350
                                    Terah Moxley
                                    Texas Bar No. 24074768
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                                    3811 Turtle Creek Blvd
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                                    Dallas, Texas 75219
                                    destes@estesthornecarr.com
                                    tmoxley@estesthornecarr.com
                                    Telephone: (214) 599-4000
                                    Facsimile: (214) 599-4099

                                    Of Counsel

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                                    (Admitted pro hac vice)
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                                    ameier@seyfarth.com
                                    (Admitted pro hac vice)
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                                    Atlanta, Georgia 30309-3962
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                                    Telephone: (617) 946-4800
                                    Facsimile: (617) 946-4801

                                    Counsel for Plaintiffs
 Dated: November 10, 2020




                                     -11-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                  Page 36 of 203 PageID 1141



                                 CERTIFICATE OF SERVICE

         I certify that, on November 10, 2020, I caused a true and correct copy of the foregoing

 PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION TO DEFENDANT BEACON

 HILL STAFFING GROUP, LLC to be emailed to the following counsel of record:

                              Benjamin I. Fink
                              bfink@bfvlaw.com
                              Lea C. Dearing
                              ldearing@bfvlaw.com
                              BERMAN FINK VAN HORN, P.C.
                              3475 Piedmont Road, N.E.
                              Suite 1100
                              Atlanta, Georgia 30305


                                                       /s/ Alex Meier
                                                       Alex Meier
                                                       Counsel for Plaintiffs




  65698646v.1                                   -12-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20   Page 37 of 203 PageID 1142




                        EXHIBIT E
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                  Page 38 of 203 PageID 1143



                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                      §
 RANDSTAD GENERAL PARTNER             §
 (US), LLC and RANDSTAD TECHNOLOGIES, §
 LLC.                                 §
                                      §
                  Plaintiffs,         §
                                      §                           CIVIL ACTION FILE NO.:
 v.                                   §                              3:20-cv-02814-N
                                      §
 BEACON HILL STAFFING GROUP, LLC,     §
 SHAWNA BESTREICH, ANDREW WANG,       §
 and DOES 1-10.                       §
                                      §
                  Defendants.         §


             PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION TO
                         DEFENDANT SHAWNA BESTREICH

        Plaintiffs Randstad General Partner (US), LLC (“Randstad General Staffing”) and

 Randstad Technologies, LLC (“Randstad Technologies” and, with Randstad General Staffing,

 “Randstad”), pursuant to Rule 34 of the Federal Rules of Civil Procedure, propounds the

 following requests for production upon Defendant Shawna Bestreich, and requests that these

 requests be answered separately, fully, and under oath, and be delivered to Estes Thorne & Carr

 PLLC, 3811 Turtle Creek Blvd, Suite 2000, Dallas, TX 75219.

                             DEFINITIONS AND INSTRUCTIONS

        A.      The term “document” is defined as to reach all written or printed matter and

 recordings, including, but not limited to, writings, drawings, graphs, charts, photographs,

 videotapes, computerized records and files, electronic mail, tape recordings, and any other data

 from which information can be obtained or translated, if necessary, by you through detection
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                  Page 39 of 203 PageID 1144



 devices into a reasonably usable form. The term also includes all drafts, alterations,

 modifications, and non-identical copies of the foregoing.

        B.      The terms “you” and “your” refers to Shawna Bestreich.

        C.      The term “Randstad” refers to Randstad General Staffing and Randstad

 Technologies and their owners, directors, officers, partners, employees, representatives, agents,

 attorneys, or assigns, collectively and individually.

        D.      The term “Randstad Companies” refers to Randstad General Staffing, Randstad

 Technologies, Randstad Professionals, Randstad Corporate Services, Spherion, and Randstad

 Sourceright.

        E.      The term “Former Randstad Employees” includes all Beacon Hill employees who

 were formerly employed at Randstad and includes, but is not limited to, the individuals identified

 in Paragraph No. 71 of Randstad’s Complaint.

        F.      The term “Randstad Customers” refers to, with respect to each Former Randstad

 Employee, customers with whom the Former Randstad Employee had material contact on behalf

 of Randstad in the year prior to such Former Randstad Employee’s separation from Randstad.

        G.      The term “Randstad Talent” refers to, with respect to each Former Randstad

 Employee, placement candidates and temporary staffing candidates who the Former Randstad

 Employee, in the year prior to such Former Randstad Employee’s separation from Randstad,

 placed with any Randstad Customer.

        H.      The term “Beacon Hill Management Team” refers to the following individuals:

 Charlie Cain, Joanna Foulk, Amy Van Sicklin, Jeff McLaren, Ryan Pirnat, Kathleen Keliher,

 John Williams, Aaron Mace, and any member of Beacon Hill’s Executive Committee not

 previously identified.




                                                  -2-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                    Page 40 of 203 PageID 1145



        I.      The term “person” refers to and includes a natural person, individual, partnership,

 firm, corporation, or any kind of business or legal entity, its agents and/or employees.

        J.      The term “concerning” means relating to, referring to, reflecting, describing,

 evidencing or constituting.

        K.      In construing these requests: (i) the singular shall include the plural and the plural

 shall include the singular; (ii) the masculine, feminine, or neutral pronouns, respectively, shall

 include the other genders; (iii) “and” as well as “or” shall be construed either disjunctively or

 conjunctively so as to bring within the scope of these requests all documents that might

 otherwise be construed to be outside their scope; and (iv) the present tense of a verb shall include

 its past tense and vice versa.

        L.      The word “all” shall be construed to include the word “any” and the word “any”

 shall be construed to include the word “all.”

        M.      For any and all documents described in these requests which are withheld on the

 grounds of privilege, work product or otherwise, provide an index of the withheld documents

 which identifies the document, including, without limitation, the names of the authors and

 recipients of the document, the date of the document, the subject of the communication, and the

 reason for non-production.

        N.      If any document requested herein was, but no longer is, in your possession,

 custody or control, please fully identify each such document, and indicate (a) when and how it

 ceased to be in your possession, custody, or control; (b) whether it is still in existence; and (c) if

 so, its custodian and present location.

        O.      Unless otherwise noted, the relevant timeframe for the requests is from May 1,

 2018 to the present.




                                                   -3-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20               Page 41 of 203 PageID 1146



                       REQUESTS FOR DOCUMENTS AND THINGS

 REQUEST NO. 1:

        All documents relating to, bearing upon, or evidencing any communications (oral or in
 writing) between you and any other individual regarding Beacon Hill’s position, philosophy,
 perspective, or opinions about restrictive covenants.

 RESPONSE:



 REQUEST NO. 2:

        All documents between you any member of the Beacon Hill Management Team
 regarding restrictive covenants, concerns or discussions about hiring Randstad employees, actual
 or potential litigation against Beacon Hill in connection with restrictive covenants, and/or
 Beacon Hill’s expenses incurred in connection with restrictive covenant litigation.

 RESPONSE:



 REQUEST NO. 3:

        All documents relating to, bearing upon, or evidencing any communications (oral or in
 writing) between you and Shauna Mooney regarding employment or potential employment with
 Beacon Hill or resigning from Randstad.

 RESPONSE:



 REQUEST NO. 4:

        All documents relating to, bearing upon, or evidencing any communications (oral or in
 writing) relating to any restrictions placed on Shauna Mooney’s ability to compete in a certain
 geographic territory, to solicit customers, or to solicit employees.

 RESPONSE:



 REQUEST NO. 5:

        All documents relating to, bearing upon, or evidencing any communications (oral or in
 writing) relating to Shauna Mooney’s restrictive covenant agreement.




                                               -4-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20              Page 42 of 203 PageID 1147



 RESPONSE:



 REQUEST NO. 6:

         All documents and communications regarding your receipt of any cease and desist letter
 sent by or on behalf of Randstad since May 1, 2018.

 RESPONSE:



 REQUEST NO. 7:

         Any and all documents relating to your Answers to Randstad’s First Set of
 Interrogatories.

 RESPONSE:




                                              -5-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20      Page 43 of 203 PageID 1148



       Respectfully submitted,

                                    /s/ Alex Meier
                                    Dawn Estes
                                    State Bar No. 14251350
                                    Terah Moxley
                                    Texas Bar No. 24074768
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                                    Of Counsel

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                                    Telephone: (617) 946-4800
                                    Facsimile: (617) 946-4801

                                    Counsel for Plaintiffs
 Dated: November 10, 2020




                                      -6-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                  Page 44 of 203 PageID 1149



                                  CERTIFICATE OF SERVICE

          I certify that, on November 10, 2020, I caused a true and correct copy of the foregoing

 PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION TO DEFENDANT

 SHAWNA BESTREICH to be emailed to the following counsel of record:

                               Benjamin I. Fink
                               bfink@bfvlaw.com
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                               ldearing@bfvlaw.com
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                               Suite 1100
                               Atlanta, Georgia 30305


                                                       /s/ Alex Meier
                                                       Alex Meier
                                                       Counsel for Plaintiffs




                                                 -7-
 65734352v.1
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20   Page 45 of 203 PageID 1150




                         EXHIBIT F
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                  Page 46 of 203 PageID 1151



                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                      §
 RANDSTAD GENERAL PARTNER             §
 (US), LLC and RANDSTAD TECHNOLOGIES, §
 LLC.                                 §
                                      §
                  Plaintiffs,         §
                                      §                           CIVIL ACTION FILE NO.:
 v.                                   §                              3:20-cv-02814-N
                                      §
 BEACON HILL STAFFING GROUP, LLC,     §
 SHAWNA BESTREICH, ANDREW WANG,       §
 and DOES 1-10.                       §
                                      §
                  Defendants.         §


             PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION TO
                           DEFENDANT ANDREW WANG

        Plaintiffs Randstad General Partner (US), LLC (“Randstad General Staffing”) and

 Randstad Technologies, LLC (“Randstad Technologies” and, with Randstad General Staffing,

 “Randstad”), pursuant to Rule 34 of the Federal Rules of Civil Procedure, propounds the

 following requests for production upon Defendant Andrew Wang, and requests that these

 requests be answered separately, fully, and under oath, and be delivered to Estes Thorne & Carr

 PLLC, 3811 Turtle Creek Blvd, Suite 2000, Dallas, TX 75219.

                             DEFINITIONS AND INSTRUCTIONS

        A.      The term “document” is defined as to reach all written or printed matter and

 recordings, including, but not limited to, writings, drawings, graphs, charts, photographs,

 videotapes, computerized records and files, electronic mail, tape recordings, and any other data

 from which information can be obtained or translated, if necessary, by you through detection
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                  Page 47 of 203 PageID 1152



 devices into a reasonably usable form. The term also includes all drafts, alterations,

 modifications, and non-identical copies of the foregoing.

        B.      The terms “you” and “your” refers to Andrew Wang.

        C.      The term “Randstad” refers to Randstad General Staffing and Randstad

 Technologies and their owners, directors, officers, partners, employees, representatives, agents,

 attorneys, or assigns, collectively and individually.

        D.      The term “Randstad Companies” refers to Randstad General Staffing, Randstad

 Technologies, Randstad Professionals, Randstad Corporate Services, Spherion, and Randstad

 Sourceright.

        E.      The term “Former Randstad Employees” includes all Beacon Hill employees who

 were formerly employed at Randstad and includes, but is not limited to, the individuals identified

 in Paragraph No. 71 of Randstad’s Complaint.

        F.      The term “Randstad Customers” refers to, with respect to each Former Randstad

 Employee, customers with whom the Former Randstad Employee had material contact on behalf

 of Randstad in the year prior to such Former Randstad Employee’s separation from Randstad.

        G.      The term “Randstad Talent” refers to, with respect to each Former Randstad

 Employee, placement candidates and temporary staffing candidates who the Former Randstad

 Employee, in the year prior to such Former Randstad Employee’s separation from Randstad,

 placed with any Randstad Customer.

        H.      The term “Beacon Hill Management Team” refers to the following individuals:

 Charlie Cain, Joanna Foulk, Amy Van Sicklin, Jeff McLaren, Ryan Pirnat, Kathleen Keliher,

 John Williams, Aaron Mace, and any member of Beacon Hill’s Executive Committee not

 previously identified.




                                                  -2-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                    Page 48 of 203 PageID 1153



        I.      The term “person” refers to and includes a natural person, individual, partnership,

 firm, corporation, or any kind of business or legal entity, its agents and/or employees.

        J.      The term “concerning” means relating to, referring to, reflecting, describing,

 evidencing or constituting.

        K.      In construing these requests: (i) the singular shall include the plural and the plural

 shall include the singular; (ii) the masculine, feminine, or neutral pronouns, respectively, shall

 include the other genders; (iii) “and” as well as “or” shall be construed either disjunctively or

 conjunctively so as to bring within the scope of these requests all documents that might

 otherwise be construed to be outside their scope; and (iv) the present tense of a verb shall include

 its past tense and vice versa.

        L.      The word “all” shall be construed to include the word “any” and the word “any”

 shall be construed to include the word “all.”

        M.      For any and all documents described in these requests which are withheld on the

 grounds of privilege, work product or otherwise, provide an index of the withheld documents

 which identifies the document, including, without limitation, the names of the authors and

 recipients of the document, the date of the document, the subject of the communication, and the

 reason for non-production.

        N.      If any document requested herein was, but no longer is, in your possession,

 custody or control, please fully identify each such document, and indicate (a) when and how it

 ceased to be in your possession, custody, or control; (b) whether it is still in existence; and (c) if

 so, its custodian and present location.

        O.      Unless otherwise noted, the relevant timeframe for the requests is from January 1,

 2014 to the present.




                                                   -3-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                 Page 49 of 203 PageID 1154



                       REQUESTS FOR DOCUMENTS AND THINGS

 REQUEST NO. 1:

         All documents relating to, bearing upon, or evidencing any communications (oral or in
 writing) between you and any other individual regarding your position, philosophy, perspective,
 or opinions about restrictive covenants.

 RESPONSE:



 REQUEST NO. 2:

         All documents between you and at least one member of the Beacon Hill Management
 Team regarding restrictive covenants, concerns or discussions about hiring Randstad employees,
 actual or potential litigation against Beacon Hill in connection with restrictive covenants, and/or
 Beacon Hill’s expenses incurred in connection with restrictive covenant litigation.

 RESPONSE:



 REQUEST NO. 3:

        All documents relating to, bearing upon, or evidencing any communications (oral or in
 writing) between you and any current or Former Randstad Employees from January 1, 2014 to
 the present regarding employment or potential employment with Beacon Hill or resignation of
 employment with a Randstad Company.

 RESPONSE:



 REQUEST NO. 4:

        All documents relating to, bearing upon, or evidencing any communications (oral or in
 writing) relating to any restrictions placed on a new hire relating to that new hire’s ability to
 compete in a certain geographic territory, to solicit customers, or to solicit employees.

 RESPONSE:




                                                -4-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                   Page 50 of 203 PageID 1155



 REQUEST NO. 5:

        All documents and communications from your personal email account that reference
 Randstad, restrictive covenants, non-competition provisions, non-solicitation provisions, or non-
 recruitment provisions.

 RESPONSE:



 REQUEST NO. 6:

          All documents since January 1, 2014 where you or any other Beacon Hill employee
 instructed, recommended, or told a person to conceal and/or not to disclose the person’s
 affiliation or future affiliation with Beacon Hill, such as instructing the person to not update their
 LinkedIn profile or to not disclose that the person is or will be employed by Beacon Hill.

 RESPONSE:



 REQUEST NO. 7:

        A copy of any interrogatory answers you have verified on behalf of Beacon Hill.

 RESPONSE:



 REQUEST NO. 8:

         A copy of any deposition transcript where you were deposed in your individual capacity
 or in your capacity as the corporate representative of Beacon Hill.

 RESPONSE:



 REQUEST NO. 9:

        All documents containing advice regarding the enforceability of restrictive covenants that
 were sent to someone, including via email and cc’d email, other than a current Beacon Hill
 employee or Beacon Hill’s outside counsel.

 RESPONSE:




                                                  -5-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                Page 51 of 203 PageID 1156



 REQUEST NO. 10:

        All documents regarding the potential hiring of any Former Randstad Employee and any
 attorney from either Eckert Seamans Cherin & Mellott, LLC or Berman Fink Van Horn P.C.

 RESPONSE:



 REQUEST NO. 11:

         All documents and communications regarding your receipt of any cease and desist letter
 sent by or on behalf of Randstad since January 1, 2014.

 RESPONSE:



 REQUEST NO. 12:

         All documents and communications regarding Beacon Hill’s acceptance and/or
 implementation of any no-hire or employee non-solicitation provision in a settlement agreement
 or other agreement ancillary to the resolution of actual or potential litigation. This request is
 limited to no-hire agreements implemented on or after January 1, 2010.

 RESPONSE:



 REQUEST NO. 13:

         Any and all documents relating to your Answers to Randstad’s First Set of
 Interrogatories.

 RESPONSE:




                                               -6-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20      Page 52 of 203 PageID 1157



       Respectfully submitted,

                                    /s/ Alex Meier
                                    Dawn Estes
                                    State Bar No. 14251350
                                    Terah Moxley
                                    Texas Bar No. 24074768
                                    ESTES THORNE & CARR PLLC
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                                    Of Counsel

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                                    Telephone: (617) 946-4800
                                    Facsimile: (617) 946-4801

                                    Counsel for Plaintiffs
 Dated: November 10, 2020




                                      -7-
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20                  Page 53 of 203 PageID 1158



                                  CERTIFICATE OF SERVICE

          I certify that, on November 10, 2020, I caused a true and correct copy of the foregoing

 PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION TO DEFENDANT

 ANDREW WANG to be emailed to the following counsel of record:

                               Benjamin I. Fink
                               bfink@bfvlaw.com
                               Lea C. Dearing
                               ldearing@bfvlaw.com
                               BERMAN FINK VAN HORN, P.C.
                               3475 Piedmont Road, N.E.
                               Suite 1100
                               Atlanta, Georgia 30305


                                                       /s/ Alex Meier
                                                       Alex Meier
                                                       Counsel for Plaintiffs




                                                 -8-
 65714518v.1
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20   Page 54 of 203 PageID 1159




                        EXHIBIT G
         Case 1:19-cv-01655-ODE Document 64 Filed 12/23/19 Page 1 of 5
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 55 of 203 PageID 1160




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 RANDSTAD GENERAL PARTNER )
 (US), LLC                  )
                            )                  CIVIL ACTION FILE NO:
       Plaintiff,           )                  1:19-CV-01655-ODE
                            )
                            )
 v.                         )
                            )
 BEACON HILL STAFFING GROUP )
 LLC, SHAWNA BESTREICH and )
 ERIK ADAMS,                )
                            )
       Defendants.          )
                            )

 DEFENDANT BEACON HILL STAFFING GROUP LLC’S MOTION FOR
                  PROTECTIVE ORDER

       Pursuant to Federal Rules of Civil Procedure 26(c) and 45, Defendant Beacon

 Hill Staffing Group LLC (“Beacon Hill”), appearing specially without waiving its

 defense of lack of personal jurisdiction and expressly preserving the same, files this

 Motion for Protective Order (the “Motion”) and respectfully requests that this Court

 issue a protective order limiting the scope of Plaintiff Randstad General Partner (US)

 LLC’s First Set of Interrogatories to Defendant Beacon Hill, First Set of Requests

 for Production to Defendant Beacon Hill, First Set of Requests for Admission to

 Defendant Beacon Hill, Second Set of Interrogatories to Defendant Beacon Hill,
         Case 1:19-cv-01655-ODE Document 64 Filed 12/23/19 Page 2 of 5
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 56 of 203 PageID 1161




 Second Set of Requests for Production to Beacon Hill, Second Set of Requests for

 Admission to Defendant Beacon Hill (collectively, the “Requests”) and the topics in

 Exhibit A to Plaintiff’s Revised Notice of Deposition of Beacon Hill (the “Topics”).

       In support of the Motion, Beacon Hill relies upon its Memorandum of Law in

 Support of the Motion filed contemporaneously herewith (the “Memorandum”), the

 attachments to the Memorandum, and all other pleadings and documents of record.

       Accordingly, for the reasons set forth in the Memorandum, Beacon Hill

 respectfully requests that this Honorable Court issue an Order:

       1)      Granting the Motion;

       2)      Providing for a protective order that excuses Beacon Hill from

 responding to the Requests and Topics addressed in the Memorandum, or,

 alternatively, limit the scope to (i) the time period since the Settlement Agreement,

 (ii) the Beacon Hill Admin Division, and (iii) topics bearing on the hiring of Ms.

 Bestreich and Mr. Adams. Specifically, Beacon Hill requests that the Court enter a

 protective order that Beacon Hill is not required to respond to the following:

             Plaintiff’s First Set of Interrogatories to Defendant Beacon Hill Nos. 3,
              15 [Exh. A]
             Plaintiff’s First Set of Requests for Production to Defendant Beacon
              Hill Nos. 28, 35, 36, 37 [Exh. B]
             Plaintiff’s First Set of Requests for Admission to Defendant Beacon
              Hill Nos. 1-6, 14-124 [Exh. C]
             Plaintiff’s Second Set of Request for Admission to Defendant Beacon

                                           2
         Case 1:19-cv-01655-ODE Document 64 Filed 12/23/19 Page 3 of 5
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 57 of 203 PageID 1162




           Hill Nos. 1-9 [Exh. F]
          Plaintiff’s Second Set of Interrogatories to Defendant Beacon Hill Nos.
           3, 4 [Exh. D]
          Plaintiff’s Second Set of Requests for Production to Defendant Beacon
           Hill Nos. 1-6 [Exh. E]
          Plaintiff’s Revised Notice of Deposition of Beacon Hill, Topics 3, 4, 5,
           6, 7, 8, 9, 10, 12 [Exh. G]; and

      3) For such other and further relief as the Court deems just, proper, and

         equitable under the circumstances.

      This 23rd day of December, 2019.

                                              BERMAN FINK VAN HORN P.C.
                                     By: /s/ Benjamin I. Fink
                                            Benjamin I. Fink
                                            Georgia Bar No. 261090
                                            Lea C. Dearing
                                            Georgia Bar No. 922882
                                            Ashley M. Bowcott
                                            Georgia Bar No. 871190

 3475 Piedmont Road NE                        Counsel for Defendants Beacon
 Suite 1100                                   Hill Staffing Group, LLC,
 Atlanta, Georgia 30305                       Shawna Bestreich, and Erik
                                              Adams




                                         3
         Case 1:19-cv-01655-ODE Document 64 Filed 12/23/19 Page 4 of 5
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 58 of 203 PageID 1163




        CERTIFICATION OF COMPLIANCE WITH LOCAL RULES
                          7.1D AND 5.1B

 Pursuant to Local Rules 7.1D and 5.1B, the undersigned counsel hereby certifies that

 the foregoing document complies with the Local Rules’ requirements as to font in

 that it has been prepared in Times New Roman, 14 point.

       This 23rdday of December, 2019.

                                              BERMAN FINK VAN HORN P.C.

                                       By: /s/ Benjamin I. Fink
                                             Benjamin I. Fink
                                             Georgia Bar No. 261090

 3475 Piedmont Road, NE                       Counsel for Defendants Beacon Hill
 Suite 1100                                   Staffing Group, LLC, Shawna
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 (404) 233-1943 (Facsimile)




                                          4
         Case 1:19-cv-01655-ODE Document 64 Filed 12/23/19 Page 5 of 5
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 59 of 203 PageID 1164




                          CERTIFICATE OF SERVICE


 I certify that, on December 23rd, 2019, I electronically filed the foregoing
 DEFENDANT BEACON HILL STAFFING GROUP LLC’S MOTION FOR
 PROTECTIVE ORDER with the Clerk of the Court using the CM/ECF system
 which will automatically send e-mail notification of such filing to the following
 attorneys of record:

  Robert C. Stevens, Esq.                   Erik W. Weibust, Esq.
  Alex Meier, Esq.                          SEYFARTH SHAW LLP
  SEYFARTH SHAW LLP                         Two Seaport Lane, Suite 300
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  Atlanta, Georgia 30309-3962               eweibust@seyfarth.com
                                            Counsel for Plaintiff
  bstevens@seyfarth.com
  ameier@seyfarth.com
  Counsel for Plaintiff
                                            BERMAN FINK VAN HORN P.C.



                                      By: /s/ Benjamin I. Fink
                                            Benjamin I. Fink
                                            Georgia Bar No. 261090

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                                        5
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 1 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 60 of 203 PageID 1165




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 RANDSTAD GENERAL PARTNER )
 (US), LLC                  )
                            )                  CIVIL ACTION FILE NO:
       Plaintiff,           )                  1:19-CV-01655-ODE
                            )
                            )
 v.                         )
                            )
 BEACON HILL STAFFING GROUP )
 LLC, SHAWNA BESTREICH and )
 ERIK ADAMS,                )
                            )
       Defendants.          )
                            )

        DEFENDANT BEACON HILL STAFFING GROUP LLC’S
      MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR
                    PROTECTIVE ORDER

       Beacon Hill Staffing Group LLC (“Beacon Hill”), appearing specially without

 waiving its defense of lack of personal jurisdiction, files this Memorandum of Law

 in Support of its Motion for Protective Order and shows as follows:

                                I.     INTRODUCTION

       Plaintiff Randstad General Partner (US) LLC’s written discovery to Beacon

 Hill (collectively the “Requests”), and the topics listed in Plaintiff’s Revised Notice

 of Deposition of Beacon Hill (the “Topics”) are improper for the following reasons:
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 2 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 61 of 203 PageID 1166




        Plaintiff seeks information related to Beacon Hill’s hiring of Former
         Randstad Employees,1 even those that were resolved by a binding
         agreement containing full releases (the “Settlement Agreement,” attached
         hereto as Exh. H (filed under seal));

        Plaintiff seeks information related to all eight of Beacon Hill’s National
         Divisions and 108 independent business lines, when Ms. Bestreich and Mr.
         Adams work(ed) exclusively for the Associates Division (“Admin
         Division”)2;

        Plaintiff seeks information related to hires that are so stale the applicable
         statutes of limitation for any claims relating to such hires has long expired;

        Plaintiff seeks to require Beacon Hill to create information it does not track
         and documents it does not maintain in the ordinary course of business;

        Plaintiff seeks information related to Former Randstad Employees where
         the defined term would apply to every entity affiliated with the Plaintiff
         holding company, not just the employer of Ms. Bestreich and Mr. Adams,
         which is believed to be Randstad US, LLC;

        Plaintiff seeks access to documents produced in discovery by Beacon Hill
         or any co-defendant, interrogatory answers, deposition transcripts and
         settlement agreements related to prior litigation based solely on the subject
         of the plaintiff’s allegations, without any limitations related to the actual
         subject matter of the materials exchanged and without reasonable time
         limits. In addition to implicating entirely unrelated and stale litigation,
         these requests trigger burdensome confidentiality and notice hurdles
         related to third parties whose information may be implicated;

        Plaintiff seeks the text communications from approximately 20 Beacon

 1
   Plaintiff defines “Former Randstad Employees” as “all [Beacon Hill] employees
 who were formerly employed at Randstad . . .”. [Exh. B]. Randstad General Partner
 (US) LLC is the holding company under which each of Plaintiff’s divisions are
 organized. “Randstad” therefore includes all of Plaintiff’s companies and “Former
 Randstad Employee” includes any employee they employed.
 2
    Beacon Hill’s Associates Division is often referred to as Beacon Hill
 Administrative (referred to as the “Admin Division” or the “Division” herein).
                                           2
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 3 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 62 of 203 PageID 1167




              Hill executives’ personal phones on broad subject matter dating back more
              than 10 years; and

        Plaintiff seeks to depose a corporate representative of Beacon Hill on
         topics that correspond with the improper and overbroad Requests
         discussed in this Motion and which amount to a memorization test of the
         entire corporate history of Beacon Hill.

       The Court should enter a protective order limiting the scope of discovery to

 Plaintiff’s claims related to the hiring of Ms. Bestreich and Mr. Adams and the

 associated Admin Division of Beacon Hill, along with a temporal limit on all

 discovery of no earlier than June 2, 2017, the date of the Settlement Agreement. 3

                              II.   STATEMENT OF FACTS
       A. Ms. Bestreich and Mr. Adams’ Employment.

       Plaintiff employed Ms. Bestreich and Mr. Adams in its Dallas, Texas office.4

 Ms. Bestreich joined the General Staffing Division as a Vice President of Market

 Sales in 2016 and Mr. Adams was hired in 2017 as a staffing manager in the same

 division.5

 3
   Plaintiff’s First Set of Interrogatories to Defendant Beacon Hill is at Exhibit “A”,
 Plaintiff’s First Set of Requests for Production to Defendant Beacon Hill is at Exhibit
 “B”, Plaintiff’s First Set of Requests for Admission to Defendant Beacon Hill is at
 Exhibit “C”, Plaintiff’s Second Set of Interrogatories to Defendant Beacon Hill is at
 Exhibit “D”, Plaintiff’s Second Set of Requests for Production to Defendant Beacon
 Hill is at Exhibit “E”, Plaintiff’s Second Set of Requests for Admission to Defendant
 Beacon Hill is at Exhibit “F”, and Exhibit A to Plaintiff’s Revised Notice of
 Deposition of Beacon Hill is at Exhibit “G.”
 4
   Dkt. 1-2, ¶¶ 31, 47.
 5
   Id.
                                             3
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 4 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 63 of 203 PageID 1168




       In 2018, Beacon Hill hired Ms. Bestreich in a producing (sales) role in its

 Admin Division, and, later that year, Mr. Adams joined the same Division.6 Both

 Ms. Bestreich and Mr. Adams work(ed) exclusively in the Dallas, Texas office.7

       B. Beacon Hill

       Beacon Hill has eight distinct National Divisions, one of which is the Admin

 Division.8 Each of the Divisions has its own leadership, including a Managing

 Director.9 Across those eight Divisions, Beacon Hill has 108 independent lines of

 business, each with its own profit and loss statements.10 Seventeen of those lines sit

 within the Admin Division.11 Compensation for each Managing Director is based on

 his or her Division performance and is not based on company-wide performance.12

       C. Plaintiff’s Claims and the Prior Settlement

       Plaintiff asserts a claim against Beacon Hill for intentional interference with

 Ms. Bestreich and Mr. Adams’ contractual relationships with Plaintiff as well as a

 claim for civil conspiracy in connection with Ms. Bestreich and Mr. Adams’ alleged

 violations of their employment agreements (collectively referred to as the


 6
   Dkt. 10-2, ¶¶ 10, 16.
 7
   Id. at ¶¶ 15, 18. Mr. Adams no longer works for Beacon Hill. [Id. at ¶ 17].
 8
   Exh. I, ¶ 9. The Declaration of Charles J. Cain is attached as Exhibit “I”.
 9
    Id. at ¶ 10.
 10
    Id. at ¶ 21.
 11
    Id.
 12
    Id. at ¶ 15.
                                           4
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 5 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 64 of 203 PageID 1169




 “Agreements”) with Plaintiff.13

       One June 2, 2017, Plaintiff and Beacon Hill resolved litigation via a

 Settlement Agreement, relating to Beacon Hill’s hiring of four individuals in

 Baltimore, Boston and Philadelphia.14 The Settlement Agreement contained a global

 release by Plaintiff and its affiliates of Beacon Hill and its affiliates for all claims

 known or unknown related to the hiring of the four individuals and the two lawsuits

 Plaintiff filed.15 Plaintiff now seeks discovery related to these individuals.16

       E. Plaintiff’s Corporate Structure

       While Plaintiff is a holding company and the named party in the employment

 agreements that Ms. Bestreich and Mr. Adams signed, upon information and belief,

 Ms. Bestreich and Mr. Adams actually worked for Randstad US, LLC. There are

 currently at least seven active entities affiliated with Plaintiff which are registered

 with the Georgia Secretary of State.17 Plaintiff’s website describes 16 different




 13
    See Dkt. 1-2, ¶¶ 88-98, 113-117.
 14
    Exh. H.
 15
    Id. at ¶ 37.
 16
    Exh. C, ¶¶ 29-31, 53-55, 116-118, 122-124.
 17
     Randstad Federal LLC, Randstad General Partner (US) LLC, Randstad HR
 Solutions of Delaware, LLC, Randstad North America, Inc., Randstad Professional
 US, LLC, Randstad Technologies, LLC, and Randstad US, LLC are all currently
 active entities registered with the Georgia Secretary of State. Copies of those
 entities’ current status are attached hereto as Exhibit “J.”
                                            5
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 6 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 65 of 203 PageID 1170




 “companies” operating in the United States.18 Plaintiff appears to seek discovery

 related to Beacon Hill’s interactions with employees of all of these entities,

 including, for example, SourceRight and Randstad Technologies.19

       F. Plaintiff’s Discovery

       Plaintiff seeks identification of and information about all individuals hired—

 by any Division at Beacon Hill—from any company affiliated with Plaintiff since

 January 1, 2014.20 Plaintiff also seeks similar information without any temporal

 limits in other Requests.21 Beacon Hill does not track this information.22 There are

 no Beacon Hill documents that reflect the work history of its employees. 23 Beacon

 Hill has 861 active internal employees across its eight Divisions.24 Beacon Hill has



 18
       See https://www.randstad.com/randstad-worldwide/?country-id=32, where
 Plaintiff lists the following “companies” operating in the U.S.: B2B Workforce Inc.,
 DB Concepts, Monster Worldwide, Placement Pros, Randstad, Randstad
 Engineering, Randstad Finance & Accounting, Randstad Healthcare, Randstad
 Human Resources, Randstad Pharma, Randstad Professionals, Randstad RiseSmart,
 Randstad SourceRight, Randstad Technologies, Spherion, and Tatum.
 19
     In addition to the definitions discussed in footnote 2 above, Plaintiff defines
 “Randstad Companies” as Randstad General Staffing, Randstad Technologies,
 Randstad Professionals, Randstad Corporate Services, Spherion, and Randstad
 Sourceright. It is unclear how these entities relate to those listed with the Georgia
 Secretary of State and those listed on Randstad’s website.
 20
    Exh. A, No. 3.
 21
    Exh. C.
 22
    Exh. I, ¶ 29.
 23
    Id.
 24
    Id. at ¶ 5.
                                          6
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 7 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 66 of 203 PageID 1171




 124 active internal employees within the Admin Division.25 It is unknown how many

 former employees would also be responsive.26

        Plaintiff recently sent additional Requests seeking information on at least 39

 Former Randstad Employees, some hired by Beacon Hill as far back as 2008.27

 Plaintiff’s requests require Beacon Hill to scour its records to determine if it received

 letters from Randstad related to these Former Randstad Employees and if Beacon

 Hill’s Chief Executive Officer ever saw the letters.28 In attempting to respond to this

 Request, Beacon Hill has been able to locate a handful of referenced letters. The

 letters Beacon Hill has found enclosed agreements between Randstad affiliates and

 the individual. Significantly, none of these Former Randstad Employees had

 agreements with Georgia venue or choice of law provisions.29

        Several of Plaintiff’s Requests seek information related to Beacon Hill’s

 policies, procedures, hiring, and other decision-making as a company, rather than

 the Admin Division for which Ms. Bestreich and Mr. Adams were hired. The Admin

 Division shares in the overall back office expenses of Beacon Hill as a whole;




 25
    Id. at ¶ 25.
 26
    Id. at ¶ 7.
 27
    Exh. C.
 28
    Id.
 29
    Id.
                                            7
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 8 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 67 of 203 PageID 1172




 however, its staffing operations are independent of the other National Divisions.30

 This means that the Admin Division chooses which markets to enter and when, what

 individuals to hire and why, and its own compensation and bonus rates.31 The Admin

 Division Managing Director is ultimately responsible for his division’s profits and

 losses and makes his decisions independent of the other seven Managing Directors

 at Beacon Hill.32 For example, the Admin Division is independently bearing the cost

 of this litigation.33

        Plaintiff also seeks more than 10 years of text messages to or among 20

 Beacon Hill “executives.”34 Plaintiff requests all messages related in any way to any

 of Plaintiff’s companies, former employees, customers, or talent.35 Beacon Hill does

 not own its employees’ cell phones and has no right to demand they turn those

 devices over for searches or production. The forensic cost to image and search each

 phone would be roughly $5,500.00 based on the costs to run similar searches on

 those already imaged, searched and produced from Ms. Bestreich’s phone.36



 30
    Exh. I, ¶¶ 10-16.
 31
    Id.
 32
    Id.
 33
    Id. at ¶ 19.
 34
    It appears the requested custodians were randomly pulled from Beacon Hill’s
 website as many have no known correlation to this lawsuit.
 35
    Exh. B, No. 8.
 36
    Exh. I, ¶ 20.
                                          8
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 9 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 68 of 203 PageID 1173




       Additionally, several of Plaintiff’s Requests seek identification of all litigation

 where a party asserted a claim for tortious interference with a contract or

 misappropriation of trade secrets against Beacon Hill over the past five years as well

 as all documents produced by Beacon Hill or any co-defendant, interrogatory

 answers, deposition transcripts, and settlement agreements in litigation involving the

 same claim(s) since January 1, 2009.37 Plaintiff has also recently moved to compel

 Beacon Hill to produce documents related to its “expenses related to trade secrets

 and/or restrictive covenants litigation for the last five years.”38

       Similar to the written Requests, the deposition Topics seek information

 relating to Beacon Hill as a whole, rather than the Admin Division.39 Several

 proposed Topics also seek information relating to all previous litigation or other

 disputes in which any Division of Beacon Hill was involved. Specifically, Topics 3,

 4-10, and 12 require designation of a corporate representative who can speak to the

 complete hiring and litigation history of all Divisions, as well as each Division’s


 37
    Exh. A, No. 15; Exh. Nos. 35-37.
 38
    Exh. B, No. 28.
 39
    Plaintiff has noticed the 30(b)(6) deposition of Beacon Hill for early January 2020.
 Because the deposition is set to occur in less than a month, Beacon Hill seeks
 expedited consideration of this Motion. Plaintiff has filed an Emergency Motion to
 Expedite or, Alternatively, Motion for Extension of Time. [Dkt. 61]. Beacon Hill
 intends to file a response to that Emergency Motion shortly, but also seeks expedited
 consideration of this Motion in addition to those discovery disputes identified in
 Plaintiff’s Emergency Motion.
                                             9
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 10 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 69 of 203 PageID 1174




 policies, practices, and procedures. No such individual exists.40 Each of the eight

 Divisions at Beacon Hill largely run independently of one another, expanding in

 different markets at different times, handling hiring and managing employees

 independently, and dealing with litigation independently.41 To cover the scope of the

 Topics, Beacon Hill would be required to designate a witness for each of the

 Divisions.42

       The Court should issue a protective order that Beacon Hill not be required to

 respond to the Requests and Topics addressed in this Motion or, alternatively,

 limiting the scope to (i) the time period since the Settlement Agreement, (ii) the

 Beacon Hill Admin Division, and (iii) topics bearing on the hiring of Ms. Bestreich

 and Mr. Adams. Specifically, the Court should enter a protective order that Beacon

 Hill is not required to respond to the following:

        Plaintiff’s First Set of Interrogatories to Defendant Beacon Hill Nos. 3, 15
         [Exh. A]
        Plaintiff’s First Set of Requests for Production to Defendant Beacon Hill
         Nos. 28, 35, 36, 37 [Exh. B]
        Plaintiff’s First Set of Requests for Admission to Defendant Beacon Hill
         Nos. 1-6, 14-124 [Exh. C]
        Plaintiff’s Second Set of Request for Admission to Defendant Beacon Hill
         Nos. 1-9 [Exh. F]
        Plaintiff’s Second Set of Interrogatories to Defendant Beacon Hill Nos. 3,

 40
    See Exh. I, ¶¶ 26-28.
 41
    Id. at ¶¶ 10-16, 27.
 42
    Id. at ¶ 28.
                                          10
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 11 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 70 of 203 PageID 1175




         4 [Exh. D]
        Plaintiff’s Second Set of Requests for Production to Defendant Beacon
         Hill Nos. 1-6 [Exh. E]
        Plaintiff’s Revised Notice of Deposition of Beacon Hill, Topics 3, 4, 5, 6,
         7, 8, 9, 10, 12 [Exh. G]

              III.   ARGUMENT AND CITATIONS OF AUTHORITY

       Rule 26(c) of the Federal Rules of Civil Procedure provides that “for good

 cause shown, the court . . . may make any order which justice requires to protect a

 party or person from annoyance, embarrassment, oppression, or undue burden or

 expense,” including (1) forbidding the disclosure or discovery; and (2) forbidding

 inquiry into certain matters, or limiting the scope of disclosure or discovery to certain

 matters. Fed. R. Civ. P. 26(c)(1)(A), (D).

    A. The Court should issue a protective order as to the Requests and
       Topics.
       Rule 26(b)(1) provides that a party may obtain discovery concerning any non-

 privileged matter that is relevant to any party’s claim or defense and is proportional

 to the needs of the case. Information is relevant if it “bears on, or [] reasonably could

 lead to other matter that could bear on, any issue that is or may be in the case.”

 Incomm Holdings, Inc. v. Great Am. Ins. Co., 1:15-cv-2671-WSD, 2016 WL

 1213232, *3 (N.D. Ga. Mar. 23, 2016). Plaintiff’s Requests and the Topics go well

 beyond what is allowed by Rule 26 considering the claims asserted by Plaintiff.

 Specifically, the Requests and Topics are not related to Beacon Hill’s hiring of Ms.
                                            11
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 12 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 71 of 203 PageID 1176




 Bestreich and Mr. Adams or any claim cognizable under Georgia law.

          1. The information sought is not relevant.

       A requesting party must properly limit the scope of its requests and must have

 a reason for seeking the requests aside from blind guesswork. See Rollins v. Cone

 Distrib., Inc., 710 F. App’x 814, 819-20 (11th Cir. 2017) (denying motion to compel

 production of personnel files of every employee in a warehouse where responding

 party had provided certain employee files and had not indicated any other “particular

 warehouse employee” was relevant to plaintiff’s Title VII claim).

       Plaintiff has asserted a tortious interference claim against Beacon Hill.43

 Under both Texas and Georgia law, Plaintiff is required to identify the specific

 contracts with which it alleges Beacon Hill has interfered.44 Plaintiff identified Ms.

 Bestreich and Mr. Adams’ agreements.45 Plaintiff will be required to show that

 Beacon Hill acted with intent to injure, induced Ms. Bestreich and Mr. Adams to

 breach their contracts with Plaintiff and that Plaintiff was injured financially.46


 43
    Dkt. 1-2, ¶¶ 88-98.
 44
    See ACS Investors, Inc. v. McLaughlin, 943 S.W.2d 426, 430 (Tex. 1997);
 Agliysys, Inc. v. Hall, 258 F. Supp. 3d 1331, 1352 (N.D. Ga. 2017) (“[P]laintiff must
 establish the existence of a valid contract” and assert “facts to support specific
 contracts”).
 45
    Dkt. 1-2, ¶¶ 88-98.
 46
    See, e.g., McGehee v. Hagan, 367 S.W.3d 848, 854 (Tex. Ct. App.-Hous. [14th]
 2012). See also Britt Paul Ins. Agency, Inc. v. Vandroff Ins. Agency, Inc., 952 F.
 Supp. 1575, 1581 (N.D. Ga. 1996).
                                          12
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 13 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 72 of 203 PageID 1177




 Nonetheless, Plaintiff seeks expansive discovery well beyond anything that could

 possibly be relevant to these two hires.

       Former Randstad Employees Requests. Many Requests relate to Plaintiff’s

 former employees. These are improper for several reasons. First, the definition of

 this term should be limited to the operating entity for which Ms. Bestreich and Mr.

 Adams were actually employed. Second, these requests target every line of business

 at Beacon Hill across all eight National Divisions. As described above, the Divisions

 operate largely independently of one another and, assuming Plaintiff’s general

 interference theory existed, it would only be appropriate to inquire as to the

 Administrative business line within the Admin Division. Third, the requests are not

 reasonably limited in time. The appropriate limitation would be within the applicable

 statute of limitations, or since the entry of the Settlement Agreement.

       Plaintiff tries to justify its fishing expedition by arguing that Beacon Hill has

 a strategy of “poaching employees from competitors” that it needs to investigate.47

 No such “poaching” claim exists in Georgia.48 Therefore, this broad swath of



 47
   Dkt. 1-2, ¶ 62.
 48
   See Hamilton v. World Wrestling Entm't, Inc., No. 1:09-CV-1559-CAP-WEJ,
 2009 WL 10669648, at *3 (N.D. Ga. Oct. 2, 2009), report and recommendation
 adopted, No. 1:09-CV-1559-CAP-WEJ, 2009 WL 10672375 (N.D. Ga. Oct. 28,
 2009) (holding tortious interference claim failed to state a claim where plaintiff did
 not identify specific contract).
                                            13
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 14 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 73 of 203 PageID 1178




 information is not relevant or discoverable.

          Neither the employees identified in paragraph 83 of the Complaint, nor those

 included in Plaintiff’s First Set of Requests for Admission to Defendant Beacon Hill

 can form the basis of a general tortious interference claim. Many of the individuals

 are located in states other than Georgia or Texas, so different substantive law and

 statutes of limitation would potentially apply to each hire.49

          If Plaintiff simply seeks to show that Beacon Hill has previously hired other

 employees subject to agreements with Randstad, there is prior litigation between the

 two companies and it is undisputed that such litigation resulted in the Settlement

 Agreement.50 Plaintiff utterly fails to explain what significance additional discovery

 over hires that apparently did not merit filing litigation would do to advance the

 issues in this case. Further discovery would simply be duplicative of facts that are

 not even in controversy. Beacon Hill has hired employees that previously worked

 for Plaintiff. What is contested is whether those employees’ employment with

 Beacon Hill violated agreements with the Plaintiff. However, this case is only about

 two employees—Ms. Bestreich and Mr. Adams. Other hires, in other jurisdictions,

 based on different agreements will not provide any insight into the claims before this



 49
      See Dkt. 1-2, ¶ 83; Exh. C.
 50
      Exh. H.
                                            14
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 15 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 74 of 203 PageID 1179




 Court.

          If Plaintiff intended to bring claims against Beacon Hill beyond the hiring of

 Ms. Bestreich and Mr. Adams, it is too late to do so in this case.51 Doing so would

 be futile, as it is seeking very stale information based on the individuals Plaintiff

 identifies.52 Furthermore, if this is indeed what Plaintiff seeks to litigate, it has not

 been candid with the Court in its briefing related to its argument that Beacon Hill is

 subject to jurisdiction in Georgia, as it has argued its claims are focused on Ms.

 Bestreich’s and Mr. Adams’ Agreements.53 Plaintiff has taken the position that this

 case arises out of the hiring of Ms. Bestreich and Mr. Adams, to use the venue

 provision in their specific employment agreements as the jurisdictional hook to hail

 Beacon Hill into this Court.54 However, Plaintiff’s discovery indicates it is seeking

 evidence to support some kind of general, nationwide business or employment

 interference claim against Beacon Hill, and for which there is no good faith basis to


 51
    Fed. R. Civ. P. 15; Dkt. 28.
 52
    Dkt. 1-2, ¶ 83; Exh. C. Some individuals Plaintiff identifies were hired by Beacon
 Hill as long ago as 2008. See, e.g., Exh. C, ¶¶ 1-6, 44-46, 59-61, 65-67, 89-91, 104-
 109 (identifying Travis Reding (2008-GA); Jessica Hamelin (2008-GA); Carla
 Andrea (2010-CA); Kathryn Kohl (2010-FL); Kim Leckenby (2010-PA); Maricela
 Ostrand (2014-IL); Ryan Pirnat (2014-IL); Ashley Asquith (2015-MA), etc.). [Exh.
 I, ¶ 8]. If Plaintiff truly intends to pursue claims related to these and the other
 individuals identified, each tort claim would be governed by the law of the
 jurisdiction where the employee works. [Id.].
 53
    See Dkt. 26, p. 7.
 54
    Id.
                                            15
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 16 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 75 of 203 PageID 1180




 assert jurisdiction in this Court.55

       Prior Litigation. Plaintiff seeks access to documents produced in discovery,

 interrogatory answers, deposition transcripts and settlement agreements related to

 prior litigation based solely on the subject of the plaintiff’s allegations in those

 previous cases.56 There are several problems with these requests. First, Plaintiff has

 not asserted a trade secret claim in this case and provides no explanation as to why

 documents relating to such claims in other cases might be relevant. Second, the

 Requests are limited only by subject matter of the lawsuit, not the documents,

 transcripts and settlement agreements Plaintiff seeks to obtain. Third, Plaintiff seeks

 the identification of and materials from lawsuits as far back as 2009. Fourth, the

 Requests completely ignore the individual and highly fact-specific nature of

 noncompete litigation. Every agreement is unique and the factual circumstances of

 each hire is unique. For example, the hire of an employee that was terminated by its

 former employer in a state like California that does not allow non-competes, could




 55
    No such general interference claim exists under Georgia law. See Howerton v.
 Harbin Clinic, LLC, 333. Ga. App. 191, 196 (finding that in order to prevail on a
 claim for tortious interference with contractual relations, plaintiff was required to
 prove existence of a valid employment agreement).
 56
    The touchstone for these Requests’ responsiveness is if the plaintiff alleged breach
 of an agreement or misappropriation of trade secrets.
                                           16
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 17 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 76 of 203 PageID 1181




 not possibly be informative of any issue in this litigation.57

       Evidence of allegedly “similar” incidents are not always relevant or properly

 discoverable. See Orr v. Macy’s Retail Holdings, Inc., CV 416-052, 2016 WL

 6246798, at *2 (S.D. Ga. Oct. 24, 2016). In Orr, the plaintiffs in a personal injury

 lawsuit sought discovery relating to all prior incidents at Macy’s related to faulty

 fitting room doors. Id. at *1. The plaintiffs agreed to limit the request to the past four

 years and the Macy’s Southeast region stores, but Macy’s objected to the request as

 overbroad and not relevant because there were many regional stores whose

 operations and incidents had no bearing on the injuries at issue in the action before

 the court. Id. The court held “even under the relaxed discovery standard,” plaintiffs’

 request was not “reasonably related in terms of location and condition.” Id. at *2.

 Rather, the court held that the plaintiffs sought a “broad swath of data that is

 potentially irrelevant to the allegations of the Complaint” and denied the motion. Id.

       The prior litigation Requests are the equivalent of Plaintiff asking to rifle

 through a desk drawer or filing cabinet to search for something that may support a

 claim. These sort of fishing expeditions are improper. See Pappillion v. Hyosung

 Motors Am., Inc., No. 1:07-CV-0900-BBM-RGV, 2008 WL 11335185, at *2 (N.D.



 57
    See Dkt. 45, pp. 8-10 (distinguishing the facts of a California action with another
 staffing company from the facts allegedly giving rise to this action).
                                            17
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 18 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 77 of 203 PageID 1182




 Ga. Jan. 14, 2008) (finding that Rule 26 does not provide “an unlimited license for

 a fishing expedition” and that “courts should not grant discovery requests based on

 pure speculation that amount to nothing more than a ‘fishing expedition’ into actions

 or past wrongdoing not related to the alleged claims or defenses”). The fishing

 expedition for information regarding prior litigation is not permitted under Rule 26.

       Here, Plaintiff has made no attempt to limit its Requests in terms of time

 period or region or, in this case, applicable Division. Additionally, Plaintiff seeks

 information relating to claims brought against Beacon Hill alleging misappropriation

 of trade secrets: a claim which is not even asserted in this action. In short, Plaintiff

 has made no effort to demonstrate how all prior restrictive covenant or trade secrets

 litigation may be relevant to the circumstances in this action. Even if the prior

 litigation had minimal relevance to this case—which Beacon Hill vigorously

 disputes—there is no colorable argument why Plaintiff would be entitled to all prior

 litigation materials when the Requests relating to those documents have in no way

 been limited to a place, time, or events similar to this action.

       Text Messages. Plaintiff may not demand information that Beacon Hill does

 not possess. Beacon Hill does not provide its employees with cell phones and cannot

 demand they turn their personal cell phones in for review.

       Corporate Representative Topics. Plaintiff seeks to explore these same

                                           18
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 19 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 78 of 203 PageID 1183




 Topics through a deposition of a corporate representative. A deposition on these

 Topics would be improper for the same reasons the Requests are improper. And, for

 the same reasons, Beacon Hill requests the Court issue a protective order with

 limitations on the scope of testimony a representative is required to prepare for.

           2. The Requests are grossly overbroad and not proportional to the
              needs of the case.

              a) The Requests and Topics are outrageously overbroad.

       Beacon Hill specifically seeks relief with respect to First Set of Requests for

 Production numbers 8, 28, 35, 36, and 37, First Set of Interrogatories numbers 3 and

 15, First Set of Requests for Admission numbers 1-6 and 14-124, Second Set of

 Requests for Production numbers 1-6, Second Set of Interrogatories numbers 3 and

 4, Second Set of Requests for Admission numbers 1-9 and Topics 3-10, 12, 28-32.

       The Requests and Topics are overbroad as they are not limited to the

 appropriate Division or business line with respect to Plaintiff or Beacon Hill. They

 are not limited temporally, or, the time period is overbroad. The Requests and Topics

 directed at prior litigation are not limited to a relevant subject matter.

       In addition to being overbroad, Plaintiff’s Requests regarding prior litigation

 are unduly burdensome. Beacon Hill does not have a repository where it stores all

 documents related to litigation across all Divisions. Rather, gathering such

 documents would require extensive coordination, searching, and evaluation of rights
                                            19
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 20 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 79 of 203 PageID 1184




 and obligations across Divisions at Beacon Hill and with multiple outside counsel.

 It will also involve coordination with third parties that have rights with respect to the

 confidentiality of deposition transcripts, interrogatory responses, documents

 exchanged, and the settlement agreements.

       Finally, Plaintiff’s deposition Topics are overbroad and unmanageable

 because they require Beacon Hill to designate a company representative who can

 speak to information across all of Beacon Hill’s Divisions -- seven of which have no

 relationship to the claims in this litigation. There is no requirement that a Rule

 30(b)(6) witness memorize voluminous records or the minutia and irrelevant subject

 matter called for in Plaintiff’s noticed Topics.58

       Beacon Hill has and is continuing to produce relevant, responsive information

 as it relates to the Admin Division and Ms. Bestreich or Mr. Adams. Beacon Hill is

 also willing to provide, and has provided, information regarding the Admin

 Division’s subsequent hires of former employees of Plaintiff since this action was

 initiated. However, any other information responsive to Plaintiff’s Requests is



 58
    See Bayer Healthcare Pharm., Inc. v. River's Edge Pharm., LLC, No. 1:11-CV-
 01634-RLV, 2013 WL 11901530, at *2 (N.D. Ga. Apr. 26, 2013) (finding witness
 prepared on the topics properly within the scope of discovery and denying motion
 to compel) (citing see QBE Ins. Corp. v. Jorda Enters., Inc., 277 F.R.D. 676, 689
 (S.D. Fla. 2012) (“[T]he [30(b)(6) ] rule is not designed to be a memory contest.”)).

                                            20
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 21 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 80 of 203 PageID 1185




 grossly overbroad. When a party has provided a significant amount of discovery and

 “further discovery would not be helpful in resolving the issues, a request for further

 discovery is properly denied.” Avirgan v. Hull, 932 F.2d 1572, 1580 (11th Cir.

 1991). The Court should protect Beacon Hill from discovery sought by the Requests

 that would not be helpful to resolving the issues related to Ms. Bestreich or Mr.

 Adams and/or Beacon Hill’s alleged knowledge of the Agreements.

              b) The information sought by the Requests is not proportional to the
                 needs of the case.

       To determine whether material is “proportional to the needs of the case”

 requires consideration of “the importance of the issues at stake in the action, . . ., the

 parties’ relative access to relevant information, . . ., the importance of discovery in

 resolving the issues, and whether the burden or expense of the proposed discovery

 outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). As set forth above, the

 Requests lack importance to the issues in the case. Moreover, there are practical

 realities that will make it extremely time consuming, burdensome, and, in some

 instances, nearly impossible for Beacon Hill to respond to the Requests and Topics.

       First, Beacon Hill does not track information related to the previous

 employment history of its hires. Thus, Beacon Hill does not have any way to

 determine who the Former Randstad Employees might be to even begin running

 searches on responsive materials. A party is not required to create documents that it
                                            21
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 22 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 81 of 203 PageID 1186




 does not have. See Morris v. First Franklin Fin. Corp., No. 1:07-CV-614-CAP, 2008

 WL 11417129, at *2 (N.D. Ga. Aug. 14, 2008) (finding defendant was not required

 to create documents responsive to a request where defendant would have had to

 search all applicant files and extract data to create a month-by-month log). Unlike

 the defendant in Morris who had at least some of the information (albeit not in the

 format requested by plaintiff), Beacon Hill does not have this information stored in

 any easily retrievable format.59

          Plaintiff suggests Beacon Hill could run searches on LinkedIn or email

 surveys to its workforce, but Beacon Hill is not obligated to do so. Beacon Hill has

 more than 800 internal employees across its National Divisions.60 The Requests

 regarding Former Randstad Employees are not proportional to the needs of this case.

          Plaintiff also desires communications related to former Randstad employees’

 recruitment. Given the breadth of the Requests (individuals from any division of

 Plaintiff and to any Division at Beacon Hill), the impacted custodians that would

 need to be searched would likely be extraordinarily voluminous. Plaintiff identified

 individuals in the Request for Admissions that span several different Divisions at

 Beacon Hill dating all the way back to 2008.



 59
      Exh. I, ¶ 29.
 60
      Id. at ¶ 5.
                                           22
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 23 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 82 of 203 PageID 1187




       Additionally, recruiters for internal positions often reach out to potential

 candidates through LinkedIn messaging. These messages are the equivalent of a cold

 call in the sales context. They may go unanswered or result in a few benign

 exchanges. Securing this type of communication, which is not kept on any Beacon

 Hill system and would require logging in to each recruiter’s account and searching

 their messages for the last 10 years, is not proportional to the needs of the case.

       Attempting to respond to Plaintiff’s Requests would require months of effort,

 significant legal expenses and forensic fees, and substantial coordination and work

 among Divisions unrelated to this dispute. This burden is completely

 disproportionate to any arguable relevance. A protective order should be issued that

 Beacon Hill is not required to expend this unwarranted effort.

    B. Disclosure of the litigation files will cause substantial harm.

       Rule 26(c) gives the district court discretionary power to issue a protective

 order upon a showing of good cause. Farnsworth v. Procter & Gamble Co., 758 F.2d

 1545, 1548 (11th Cir. 1985). The existence of good cause turns on the nature and

 character   of   the   information    in   question.    Chicago    Tribune     Co.    v.

 Bridgestone/Firestone, Inc., 263 F.3d 1304, 1314-15 (11th Cir. 2001). Furthermore,

 “the object of the inquiry must have some evidentiary value” in order to be

 discoverable. In re RDM Sports Grp., Inc., 277 B.R. 415, 433 (N.D. Ga. 2002).

                                            23
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 24 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 83 of 203 PageID 1188




 Material related to prior litigation has no evidentiary value to this dispute.

       1. Disclosure would cause Beacon Hill to violate the terms of settlement
          agreements it entered with non-parties.

       Beacon Hill would be substantially harmed if it were required to disclose the

 information Plaintiff seeks through its Requests. Several of the Requests seek all

 documents produced or created as a result of prior litigation involving a claim for

 tortious interference with a contract or misappropriation of trade secrets. One

 Request seeks all documents produced by Beacon Hill or any co-defendant.61 The

 Requests cover time periods of, from January 1, 2009 to the present, or five years.62

       Many of the settlements contain terms which require Beacon Hill to either

 destroy certain litigation materials once the settlement has been executed and/or to

 keep materials produced or created as a result of litigation confidential. Many

 settlements specifically prevent the parties from using any materials in subsequent

 litigation. If any party to the agreement fails to comply with its terms, that party

 exposes itself to liability. This issue has been briefed in response to the Insight

 Global subpoena which Beacon Hill incorporates herein.63

       Not only do the Requests seek to harass and embarrass Beacon Hill, but



 61
    Exh. B, No. 34.
 62
    Exh A., No. 15; Exh. B., Nos. 34-37.
 63
    See Dkts. 45-1, 47-1, 49.
                                           24
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 25 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 84 of 203 PageID 1189




 requiring Beacon Hill to disclose information in violation of other agreements will

 cause actual, substantial harm to Beacon Hill.64 Given that the cases for which

 Plaintiff seeks information relate to divisions and employees unrelated to this

 dispute, there is no apparent reason Plaintiff seeks to obtain the information, other

 than to harass Beacon Hill.

       2. Disclosure of non-party prospective employees is against public policy.

       The disclosure of information or documentation regarding a non-party

 prospective employee, particularly the identity of that individual, raises serious

 public policy concerns. Companies in virtually all industries are approached by, or

 reach out to, individuals to discuss potential employment. Oftentimes these

 conversations do not result in that prospective employee being hired, and the

 prospective employee may continue with the employer. If the individual remains

 with the employer, it is very likely the employee would not want discussion

 regarding potential employment with another employer to become known. Allowing

 a large company like Plaintiff to conduct discovery into every employee who has

 emailed or spoken about possible job opportunities could be detrimental to those

 employees and may also stifle competition.


 64
    If Beacon Hill were ordered to respond to this Request, non-party staffing
 companies from prior cases would need to be provided an opportunity to appear and
 object on their own behalf.
                                          25
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 26 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 85 of 203 PageID 1190




                                 IV.    CONCLUSION
       The Requests are overbroad and seek information which is not relevant or

 proportional to the needs of the case and which is unduly burdensome. Beacon Hill

 therefore requests that the Court issue a protective order limiting the Requests as set

 forth herein.

       This 23rd day of December, 2019
                                                BERMAN FINK VAN HORN P.C.
                                         By: /s/ Benjamin I. Fink
                                                Benjamin I. Fink
                                                Georgia Bar No. 261090
                                                Lea C. Dearing
                                                Georgia Bar No. 922882
                                                Ashley M. Bowcott
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 Suite 1100                                     Hill Staffing Group, LLC,
 Atlanta, Georgia 30305                         Shawna Bestreich, and Erik
                                                Adams




                                           26
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 27 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 86 of 203 PageID 1191




        CERTIFICATION OF COMPLIANCE WITH LOCAL RULES
                          7.1D AND 5.1B

 Pursuant to Local Rules 7.1D and 5.1B, the undersigned counsel hereby certifies that

 the foregoing document complies with the Local Rules’ requirements as to font in

 that it has been prepared in Times New Roman, 14 point.

       This 23rd day of December, 2019.

                                               BERMAN FINK VAN HORN P.C.

                                       By: /s/ Benjamin I. Fink
                                             Benjamin I. Fink
                                             Georgia Bar No. 261090

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                                          27
       Case 1:19-cv-01655-ODE Document 64-1 Filed 12/23/19 Page 28 of 28
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 87 of 203 PageID 1192




                          CERTIFICATE OF SERVICE


 I certify that, on December 23, 2019, I electronically filed the foregoing
 DEFENDANT            BEACON      HILL       STAFFING         GROUP        LLC’S
 MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR
 PROTECTIVE ORDER with the Clerk of the Court using the CM/ECF system
 which will automatically send e-mail notification of such filing to the following
 attorneys of record:

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                                      By: /s/ Benjamin I. Fink
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                                        28
       Case 1:19-cv-01655-ODE Document 64-2 Filed 12/23/19 Page 1 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 88 of 203 PageID 1193




                         EXHIBIT A
       Case 1:19-cv-01655-ODE Document 64-2 Filed 12/23/19 Page 2 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 89 of 203 PageID 1194
       Case 1:19-cv-01655-ODE Document 64-2 Filed 12/23/19 Page 3 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 90 of 203 PageID 1195




                  a.     The identity of the attorney and client as to whom that privilege is
                         claimed, and the date, author, and recipient of each document or
                         communication as to which objection is interposed;

                  b.     The identity of all persons having knowledge of any facts that you
                         claim are privileged or otherwise protected from disclosure; and

                  c.     The basis for your claim that any document, communication or
                         information is protected from disclosure by the attorney client
                         privilege.

             C.   If you object to answering any Interrogatory in whole or in part on the basis of

  the work product doctrine, please state the following:

                  a.     The basis for your claim that such information constitutes attorney
                         work product;

                  b.     The identity of each attorney claimed to have contributed to the
                         material being claimed as work product; and

                  c.     The identity of all persons having knowledge of any facts that you
                         claim to be protected as attorney work product.

             D.   The remaining instructions and definitions contained in Randstad's Requests

  for Production to BHSG are incorporated herein as if fully restated.

                                     INTERROGATORIES

  INTERROGATORYN0.1:

         Identify all Randstad Company property in your custody, possession, or control. If the

  property is electronically stored information, identify the device on which such data is

  located.

  ANSWER:




                                                -2-
       Case 1:19-cv-01655-ODE Document 64-2 Filed 12/23/19 Page 4 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 91 of 203 PageID 1196




   INTERROGATORY NO. 2:

          Set forth in detail the job duties and responsibilities for Bestreich and Adams with

   respect to his/her employment with BHSG.

  ANSWER:



  INTERROGATORY NO. 3:

          Identify every Randstad Companies employee you have hired since January 1, 2014.

  For each employee, provide the employee's name, title at BHSG, whether the employee had

  a restrictive covenant agreement with Randstad, whether BHSG agreed to indemnify the

  employee in the event that Randstad filed a lawsuit against the employee and/or BHSG,

  whether the employee has a restrictive covenant agreement with BHSG, and which BHSG

  empJoyee(s) made the decision to hire that employee.

  ANSWER:



  INTERROGATORY NO. 4:

         Identify all payments that BHSG has provided, promised to provide, or offered to

  provide to Bestreich and/or Adams, including but not limited to, wages, compensation,

  bonuses, commissions, attorneys' fees, expense reimbursements (travel-related or otherwise),

  equity grants, reimbursements, or salary guarantees and/or offers and including any

  conditions surrounding such promises and/or offers.

  ANSWER:




                                              -3-
       Case 1:19-cv-01655-ODE Document 64-2 Filed 12/23/19 Page 5 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 92 of 203 PageID 1197




  INTERROGATORY NO. 5:

         Unless the communication has been produced to Randstad, describe any and all

  communications (oral or in writing) BHSG has had with Bestreich and/or Adams concerning

  BHSG, BHSG's business, and/or prospective employment with BHSG. As to each such

  communication, describe in detail the communication, including its content, the date it

  occurred, all persons who participated in the communication, all persons whom you believe

  have knowledge of the communication, and the place or manner of the communication.

  ANSWER:



  INTERROGATORY NO. 6:

         Unless the communication has been produced to Randstad, describe any and all

  communications (oral or in writing) BHSG had with Bestreich and/or Adams concerning the

  Randstad Companies, Randstad's business, his/her employment with Randstad, including any

  post-employment restrictive covenants, the staffing industry, and/or his/her resignation from

  Randstad. As to each such communication, describe in detail the communication, including

  its content, the date it occmTed, all persons who participated in the communication, all

  persons whom you believe have knowledge of the communication, and the place or manner

  of the communication or contact.

  ANSWER:



  INTERROGATORY NO. 7:

         Identify all agreements, including, but not limited to, any non-compete agreements,

  non-solicitation agreements, nondisclosure agreements, employment agreements, joint



                                               -4-
       Case 1:19-cv-01655-ODE Document 64-2 Filed 12/23/19 Page 6 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 93 of 203 PageID 1198




  representation agreements, joint defense agreements, and indemnification         agreements

  between BHSG and Bestreich and/or Adams.

  ANSWER:



  INTERROGATORY NO. 8:

         Identify the locations of all meetings between BHSG and Bestreich and/or Adams

  from January 1, 2017 to the present. As to each such meeting, describe the nature of the

  meeting, the date of the meeting, what was discussed at the meeting, and who was present at

  the meeting.

  ANSWER:



  INTERROGATORY NO. 9:

         Identify all customers or prospective customers to whom Bestreich/Adams have

  offered and/or sold staffing-related services on behalf of BHSG, the amount of any such sale

  or proposal, the name of the placed and/or proposed individual and the position, and whether

  you offered and/or sold staffing-related services to such customer or prospective customer

  during the last two years of Bestreich's and/or Adams's employment with Randstad.

  ANSWER:



  INTERROGATORY NO. 10:

         Identify all persons with knowledge regarding the allegations m Randstad's

  Complaint and/or BHSG's defenses to such claims.




                                              -5-
       Case 1:19-cv-01655-ODE Document 64-2 Filed 12/23/19 Page 7 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 94 of 203 PageID 1199




  ANSWER:



  INTERROGATORY N0.11:

           Identify all BHSG employees involved m the decision to hire Bestreich and/or

  Adams.

  ANSWER:



  INTERROGATORY NO.12:

          Identify all information that Bestreich and/or Adams shared with BHSG.

  ANSWER:



  INTERROGATORY NO. 13:

         Have you ever terminated or rescinded an offer from an actual or prospective

  employee because that employee took, misappropriated, or retained information relating to

  that employee's previous employer? If so, identify the individual's title, former employer,

  position with BHSG, what the individual improperly took, misappropriated, or retained, and

  any remediation efforts by BHSG.

  ANSWER:



  INTERROGATORY NO. 14:

         In the last five years, how many times has BHSG decided to hire an individual even

  though the individual is subject to a restrictive covenant agreement? For each individual,

  identify the individual, the individual's former employer and role, the agreement at issue, and



                                                -6-
       Case 1:19-cv-01655-ODE Document 64-2 Filed 12/23/19 Page 8 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 95 of 203 PageID 1200




  any advice regarding the agreement's enforceability that BHSG received from internal or

  outside counsel (if the advice was communicated to persons or entities other than BHSG and

  its outside counsel).

  ANSWER:



  INTERROGATORY NO. 15:

         In the last five years, identify every lawsuit where BHSG was sued by a company

  where the company alleged that BHSG tortuously interfered with a restrictive covenant

  agreement or misappropriated trade secrets. For each lawsuit, identify the style, the claims

  asserted against BHSG, and the outcome.

  ANSWER:



  INTERROGATORY NO. 16:

         Identify every new office or line of business opened by BHSG in the last five years.

  For each, identify the first five employees hired, the five employees' immediate prior

  employer, whether the employees had restrictive covenant agreements, and whether BHSG

  received a cease and desist letter from the five employees' immediate prior employer.

  ANSWER:




                                               -7-
       Case 1:19-cv-01655-ODE Document 64-2 Filed 12/23/19 Page 9 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 96 of 203 PageID 1201




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                                    (US), LLC
  Dated: May 9, 2019




                                    -8-
       Case 1:19-cv-01655-ODE Document 64-2 Filed 12/23/19 Page 10 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 97 of 203 PageID 1202
       Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 1 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 98 of 203 PageID 1203




                         EXHIBIT B
       Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 2 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 99 of 203 PageID 1204
        Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 3 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 100 of 203 PageID 1205
        Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 4 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 101 of 203 PageID 1206
        Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 5 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 102 of 203 PageID 1207




           P.      If any document requested herein was, but no longer is, in your possession,

   custody or control, please fully identify each such document, and indicate (a) when and how

   it ceased to be in your possession, custody, or control; (b) whether it is still in existence; and

   (c) if so, its custodian and present location.

                        REQUESTS FOR DOCUMENTS AND THINGS

   REQUEST N0.1:

          All documents and/or property regarding any Randstad Company, including its

   clients or customers, that BHSG received from or obtained from any Former Randstad

   Employee since January 1, 2009.

   RESPONSE:



   REOUE T NO. 2:

          All documents provided to Bestreich and/or Adams prior to the start of his/her

   employment at BHSG.

   RESPONSE:



   REQUEST NO. 3:

          All documents BHSG received from Bestreich and/or Adams.

   RESPONSE:



   REQUEST NO. 4:

          Records of telephone calls and text messages that BHSG made, sent, or received

   relating to Bestreich and/or Adams from January 1, 2018 to the present. Produce these



                                                    -4-
        Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 6 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 103 of 203 PageID 1208




   records in Excel format, which can be done automatically for both Verizon and AT&T

   phones. For Verizon numbers, access the "Calls & Messages" tab for "View My Bill" to

   create spreadsheets. For AT&T numbers, go to "Billing & Payment," select "View My Bill,"

   select "Usage," select "Data, text, & talk logs," and select "Excel" in the top-right corner of

   the window.

   RESPONSE:



   REQUEST NO. 5:

          Records of telephone calls and text messages that BHSG made, sent, or received

   relating to any Former Randstad Employee from January 1, 2009 to the present. Produce

   these records in Excel format, which can be done automatically for both Verizon and AT&T

   phones. For Verizon numbers, access the "Calls & Messages" tab for "View My Bill" to

   create spreadsheets. For AT&T numbers, go to "Billing & Payment," select "View My Bill,"

   select "Usage," select "Data, text, & talk logs," and select "Excel" in the top-right corner of

   the window.

   RESPONSE:



   REQUEST NO. 6:

          If Bestreich has or had a BHSG-issued phone, copies oI all records of telephone calls

   and text messages, as well as the content of any text messages between Bestreich and any

   BHSG employee and/or Randstad Customer or Randstad Talent.

   RESPONSE:




                                                -5-
        Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 7 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 104 of 203 PageID 1209




   REQU 1 ST NO. 7:

            If Adams has or had a BHSG-issued phone, copies of all records of telephone calls

   and text messages, as well as the content of any text messages between Adams and any

   BHSG employee and/or Randstad Customer or Randstad Talent.

   RESPONSE:



   REQUEST NO. 8:

            Text messages that were sent or received on or after January 1, 2009 relating to the

   Randstad Companies, Fom1er Randstad Employees, Randstad Customers or Randstad Talent,

   Bestreich, or Adams between two or more of the following persons: Andrew Wang, Charlie

   Cain, Kimberly Abhold, Kellie Baker, Laura Verastegui, Lori Croyle, Keilly Cutler, Angela

   DiPaul, Kristen Johnson, Matthew Glazier, Mary Grimm, Heather Carpento, Emily Kaeli,

   Trish Kellogg, Laura Colby, ShelTi Hom, Elizabeth Pi1Tie, Rebecca Wright, Joanna Foulk,

   Amy van Sicklin, Nicholas Billingham, Ryan Pirnat, Liz Davies, Wade Franchville, Kathleen

   Keliher, John Williams, Pauline Bakas, Jeff McLaren, Dave Abdou, Carla Andrea, and Erik

   Adams.

   RESPONSE:



   REQUEST NO. 9:

          All documents relating to, bearing upon, or evidencing any non-privileged

   communications (oral or in writing) between BHSG and Bestreich and/or Adams from

   January 1, 2018 to the present concerning the allegations in the Complaint.




                                                -6-
        Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 8 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 105 of 203 PageID 1210




   RESPONSE:



   REQU � T NO. 10:

          All documents relating to, bearing upon, or evidencing any communications (oral or

   m writing) between BHSG and Bestreich and/or Adams concerning BHSG, BHSG's

   business, and/or prospective employment with BHSG prior to her/his hire date.

   RESPONSE:



   REQUEST NO. 11:

          AJJ documents relating to, bearing upon, or evidencing any communications (oral or

   in writing) between BHSG and Bestreich and/or Adams concerning Randstad, Randstad's

   business, or Bestreich's and/or Adams's employment with Randstad.

   RESPONSE:



   REQUEST NO. 12:

          All documents relating to, bearing upon, or evidencing any communications (oral or

   in writing) between BHSG and Bestreich and/or Adams relating to the Bestreich Agreement

   or the Adams Agreement, including, but not limited to, communications relating to the

   restrictive covenants contained in either agreement.

   RESPONSE:




                                                -7-
        Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 9 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 106 of 203 PageID 1211




   REQUEST NO. 13:

          All documents relating to, bearing upon, or evidencing any communications (oral or

   in writing) between Bestreich and/or Adams and any Randstad employee occurring after the

   end of their employment with Randstad, excluding conversations with administrative

   personnel.

   RESPONSE:



   REQUEST NO. 14:

          All documents relating to, bearing upon, or evidencing any communications (oral or

   in writing) between BHSG and any current or Former Randstad Employees from January l,

   2009 to the present regarding employment or potential employment with BHSG or

   resignation of employment with a Randstad Company.

   RESPONSE:



   R •QUEST N0.15:

          All documents, relating to, bearing upon, or evidencing any agreements, including,

   but not limited to, any nondisclosure agreements, employment agreements, non-compete

   agreements, non-solicitation agreements, joint defense agreements, and indemnification

   agreements, between BHSG and Bestreich and/or Adams.

   RESPONSE:




                                             -8-
       Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 10 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 107 of 203 PageID 1212




   REQU i ST NO. 16:

          All personnel files and any other personnel records, including, but not limited to IRS

   Fonns W-2 and 1099, new hire documentation, travel reimbursement documentation and

   re.location documentation for the Former Randstad Employees.

   RESPONSE:



   REQUEST NO. 17:

          All restrictive covenant agreements between BHSG and any Former Randstad

   Employee.

   RESPONSE:



   REQUEST NO. 18:

          All documents relating to, bearing upon, or evidencing the job description, job duties

   and job responsibilities for the positions for which BHSG hired Bestreich and Adams.

   RESPONSE:



   REQUEST NO. 19:

          All documents relating to, bearing upon, or evidencing BHSG's decision to hire

   Bestreich and/or Adams, including communications between BHSG and Bestreich and/or

   Adams and communications between BHSG employees.

   RESPONSE:




                                               -9-
       Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 11 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 108 of 203 PageID 1213




   REQUEST NO. 20:

            All documents relating to, bearing upon, or evidencing any and all compensation,

   bonus, commission or salary guarantees that Beacon Hill has provided to Bestreich and/or

   Adams.

   RESPONSE:



   REQUEST NO. 21:

          All documents relating to, bearing upon, or evidencing any travel by Bestreich and

   Adams for or on behalf of BHSG or to meet with BHSG employees or representatives

   between January l, 2018 to the present.

   RESPONSE:



   REQUEST NO. 22:

          All documents relating to, bearing upon, or evidencing any expenses for which BHSG

   has reimbursed Bestreich and/or Adams.

   RESPONSE:



   REQUEST NO. 23:

          All documents relating to, bearing upon, or evidencing any information provided by

   Bestreich or Adams to BHSG regarding Randstad.

   RESPONSE:




                                             -10-
       Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 12 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 109 of 203 PageID 1214




   REQUEST NO. 24:

           Documents sufficient to show Beacon Hill's organizational and corporate structure,

   including its members.

   RESPONSE:



   REQUE T 0. 25:

           All documents relating to, bearing upon, or evidencing any communications (oral or

   in writing) between BHSG and Bestreich and/or Adams from January 1, 2018 to the present

   concerning the allegations in the Complaint.

   RESPONSE:



   REQUEST NO. 26:

           Bestreich's and Adams's personnel files and any other personnel records, including,

   but not limited to IRS Forms W-2 and 1099, new hire documentation, travel reimbursement

   documentation and relocation documentation.

   RESPONSE:



   REQUEST NO. 27:

           All documents created or modified since January 1, 2009 relating to BHSG's budget

   or forecasting for trade secrets or restrictive covenants litigation.

   RESPONSE:




                                                  -11-
       Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 13 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 110 of 203 PageID 1215




   REQUEST NO. 28:

           Documents sufficient to determine BHSG's expenses related to trade secrets and/or

   restrictive covenants litigation for the last five years. A yearly or month-by-month summary

   is sufficient to satisfy this request.

   RESPONSE:



   REQUEST NO. 29:

           All internal strategy documents since January 1, 2009 that relate to Randstad as a

   competitor or source of employees.

   RESPONSE:



   REQUE ST NO. 30:

           All internal strategy documents since January 1, 2009 that relate to or discuss

   BHSG's lateral hiring strategy, trade secrets, or restrictive covenants.

   RESPONSE:



   REQUEST NO. 31:

           All documents relating to any placement by Bestreich or Adams, or in which one or

   both were involved, including documents relating to any credit or compensation received

   from such services.

   RESPONSE:




                                                 -12-
       Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 14 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 111 of 203 PageID 1216




   REQUEST NO. 32:

          All documents since January 1, 2009 where BHSG instructed a person to conceal

   and/or not to disclose the person's affiliation or future affiliation with BHSG, such as

   instructing the person to not update their Linkedln profile or to not disclose that the person is

   or will be employed by BHSG.

   RESPONSE:



   REQUEST NO. 33:

          All documents relating to BHSG's hi1ing of the individuals listed in Paragraph No. 83

   of Randstad's Complaint.

   RESPONSE:



   REQUEST NO. 34:

          All non-privileged documents that BHSG or any co-defendant produced in any

   litigation where a party asserted a claim for tortious interference with a contract or

   misappropriation of trade secrets against BHSG since January 1, 2009, including, without

   limitation, in the lawsuits identified in Paragraph Nos. 66 to 80 of Randstad's Complaint.

   RESPONSE:



   REQUEST NO. 35:

          All interrogatory answers provided by BHSG in any litigation where a party asserted

   a claim for tortious interference with a contract or misappropriation of trade secrets against




                                                -13-
       Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 15 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 112 of 203 PageID 1217




   BHSG since January 1, 2009, including, without limitation, in the lawsuits identified in

   Paragraph Nos. 66 to 80 of Randstad's Complaint.

   RESPONSE:



   REQUEST NO. 36:

          All depositions of BHSG employees or corporate representatives in any litigation

   where a party asserted a claim for tortious interference with a contract or misappropriation of

   trade secrets against BHSG since January 1, 2009, including, without limitation, in the

   lawsuits identified in Paragraph Nos. 66 to 80 of Randstad's Complaint.

   RESPONSE:



   REQUEST NO. 37:

          All settlement agreements in any litigation where a party asserted a claim for tortious

   interference with a contract or misappropriation of trade secrets against BHSG since January

   1, 2009, including, without limitation, in the lawsuits identified in Paragraph Nos. 66 to 80 of

   Randstad's Complaint.

   RESPONSE:



   REQUEST NO. 38:

          All documents containing advice regarding the enforceability of restrictive covenants

   that were sent to someone, including via email and cc' d email, other than a current BHSG

   employee or BHSG's outside counsel.




                                                -14-
       Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 16 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 113 of 203 PageID 1218




   RESPONSE:



   REQUEST NO. 39:

          All documents where the parties to the communication include BHSG, Bestreich, and

   any attorney from either Eckert Seamans Cherin & Mellott, LLC or Berman Fink Van Hom

   P.C. This request is limited to documents sent or received on or before June 31, 2018.

   RESPONSE:



   REQUEST NO. 40:

          All documents where the parties to the communication include BHSG, Adams, and

   any attorney from either Eckert Seamans Cherin & Mellott, LLC or Bemrnn Fink Van Horn

   P.C. This request is limited to documents sent or received on or October 31, 2018.

   RESPONSE:



   REQUEST NO. 41:

          All documents relating to a decision by BHSG to pennit or encourage an employee

   violate a restrictive covenant agreement with the employee's former employer.

   RESPONSE:



   REQUEST NO. 42:

          All documents from any Randstad email account to Bestreich's BHSG email account.

   RESPONSE:




                                               -15-
       Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 17 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 114 of 203 PageID 1219




   REQUEST NO. 43:

           All documents from any Randstad email account to Adams's BHSG email account.

   RESPONSE:



   REQUEST NO. 44:

           A copy of any restrictive covenant agreement that BHSG required any employees to

   sign as a condition of employment.

   RESPONSE:



   REQUEST NO. 45:

           A copy of BHSG 's balance sheet, profit and loss statement, or similar aggregation of

   financial information from January 1, 2012 to the present.

   RESPONSE:



   REQUEST NO. 46:

          Any and all documents relating to your Answers to Randstad's First Set of

   Interrogatories.

   RESPONSE:



   REOUES1 NO. 47:

          Any and all documents that BHSG intends to use or to prepare for any deposition,

   hearing, or trial, excluding privileged communications and work product.




                                               -16-
       Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 18 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 115 of 203 PageID 1220




   RESPONSE:



   REQUEST NO. 48:

          All documents relating to any expert testimony that BHSG intends to offer in

   connection with this matter.

   RESPONSE:




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                                          Facsimile: (617) 946-4801

                                          Counsel.for Plaint(/!Randstad General Partner
                                          (US), LLC
   Dated: May 9, 2019




                                          -17-
       Case 1:19-cv-01655-ODE Document 64-3 Filed 12/23/19 Page 19 of 19
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 116 of 203 PageID 1221
        Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 1 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 117 of 203 PageID 1222




                          EXHIBIT C
        Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 2 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 118 of 203 PageID 1223




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
 RANDSTAD GENERAL PARTNER
 (US), LLC,
                 Plaintiff,
                                               Civil Action No.
       v.                                      1:19-cv-01655-ODE
 BEACON HILL STAFFING GROUP,
 LLC, SHAWNA BESTREICH, and
 ERIK ADAMS,
                 Defendants.


      PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSION TO
         DEFENDANT BEACON HILL STAFFING GROUP, LLC

       Plaintiff Randstad General Partner (US), LLC (“Randstad”), pursuant to

 Rule 36 of the Federal Rules of Civil Procedure, submits the following requests for

 admission to Defendant Beacon Hill Staffing Group, LLC (“Beacon Hill”) and

 request that Beacon Hill answer , in writing the following requests for admission

 within thirty days.

                                  INSTRUCTIONS
       1.     Beacon Hill is instructed that each of the statements it is requested to

 admit will be deemed to have been admitted unless, within thirty (30) days after

 service of this request, Beacon Hill serves upon Randstad either (1) a statement

 denying specifically the matters they are requested to admit or setting forth in

 detail the reasons why they cannot truthfully admit or deny those matters or (2)
        Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 3 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 119 of 203 PageID 1224




 written objections on the ground that some or all of the requested admissions are

 privileged or irrelevant or that the request is otherwise improper in whole or in

 part.

         2.   If written objections to a part of the request are made, the remainder

 of the request shall be answered within the period designated in the request. A

 denial shall fairly meet the substance of the requested admission. If good faith

 requires that Beacon Hill deny only a part, or requires qualification of a matter they

 are requested to admit, Beacon Hill shall specify so much of it as is true and deny

 only the remainder.

         3.   Without being requested to do so by Randstad, Beacon Hill must

 promptly amend any answer when it is discovered to have been incorrect when

 made, or it is discovered to be no longer true and circumstances are such that a

 failure to amend is in substance a knowing concealment. In addition, Beacon Hill

 must promptly supplement any answer in the event that, prior to final disposition

 of this action, additional information comes to the attention of, or becomes

 available to Beacon Hill, Beacon Hill’s attorneys, consultants, representatives,

 agents or any other person acting on behalf of Beacon Hill.




                                           2
        Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 4 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 120 of 203 PageID 1225




                                   DEFINITIONS
       A.     Randstad incorporates by reference the definitions and instructions

 from its First Set of Requests for Production.

                          REQUESTS FOR ADMISSION

 REQUEST NO. 1:

       Admit that you received a letter from Randstad regarding Carla Andrea’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 2:

       Admit that Andy Wang received a letter from Randstad regarding Carla

 Andrea’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 3:

       Admit that the letter from Randstad regarding Carla Andrea’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:




                                           3
        Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 5 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 121 of 203 PageID 1226




 REQUEST NO. 4:

       Admit that you received a letter from Randstad regarding Ashley Asquith’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 5:

       Admit that Andy Wang received a letter from Randstad regarding Ashley

 Asquith’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 6:

       Admit that the letter from Randstad regarding Ashley Asquith’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 7:

       Admit that you received a letter from Randstad regarding Shawna

 Bestreich’s restrictive covenant obligations to Randstad.

                                          4
        Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 6 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 122 of 203 PageID 1227




 RESPONSE:



 REQUEST NO. 8:

       Admit that Andy Wang received a letter from Randstad regarding Shawna

 Bestreich’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 9:

       Admit that the letter from Randstad regarding Shawna Bestreich’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 10:

       Admit that, on or before June 18, 2018, you were aware that Shawna

 Bestreich’s restrictive covenant agreement with Randstad contained a Georgia

 forum-selection clause.

 RESPONSE:




                                          5
        Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 7 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 123 of 203 PageID 1228




 REQUEST NO. 11:

       Admit that, on or before July 30, 2018, you were aware that Shawna

 Bestreich’s restrictive covenant agreement with Randstad contained a Georgia

 forum-selection clause.

 RESPONSE:



 REQUEST NO. 12:

       Admit that, on or before March 11, 2019, you were aware that Shawna

 Bestreich’s restrictive covenant agreement with Randstad contained a Georgia

 forum-selection clause.

 RESPONSE:



 REQUEST NO. 13:

       Admit that the letter from Randstad regarding Shawna Bestreich’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:




                                         6
        Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 8 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 124 of 203 PageID 1229




 REQUEST NO. 14:

       Admit that you received a letter from Randstad regarding Matthew Burke’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 15:

       Admit that Andy Wang received a letter from Randstad regarding Matthew

 Burke’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 16:

       Admit that the letter from Randstad regarding Matthew Burke’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 17:

       Admit that you received a letter from Randstad regarding Theo Carmone’s

 restrictive covenant obligations to Randstad.




                                          7
        Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 9 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 125 of 203 PageID 1230




 RESPONSE:



 REQUEST NO. 18:

       Admit that Andy Wang received a letter from Randstad regarding Theo

 Carmone’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 19:

       Admit that the letter from Randstad regarding Theo Carmone’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 20:

       Admit that you received a letter from Randstad regarding John D’Agostino’s

 restrictive covenant obligations to Randstad.

 RESPONSE:




                                          8
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 10 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 126 of 203 PageID 1231




 REQUEST NO. 21:

       Admit that Andy Wang received a letter from Randstad regarding John

 D’Agostino’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 22:

       Admit that the letter from Randstad regarding John D’Agostino’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 23:

       Admit that you received a letter from Randstad regarding Edward Darisse’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 24:

       Admit that Andy Wang received a letter from Randstad regarding Edward

 Darisse’s restrictive covenant obligations to Randstad.




                                          9
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 11 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 127 of 203 PageID 1232




 RESPONSE:



 REQUEST NO. 25:

       Admit that the letter from Randstad regarding Edward Darisse’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 26:

       Admit that you received a letter from Randstad regarding Angela DiPaul’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 27:

       Admit that Andy Wang received a letter from Randstad regarding Angela

 DiPaul’s restrictive covenant obligations to Randstad.

 RESPONSE:




                                         10
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 12 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 128 of 203 PageID 1233




 REQUEST NO. 28:

       Admit that the letter from Randstad regarding Angela DiPaul’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 29:

       Admit that you received a letter from Randstad regarding Christina

 Ethridge’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 30:

       Admit that Andy Wang received a letter from Randstad regarding Christina

 Ethridge’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 31:

       Admit that the letter from Randstad regarding Christina Ethridge’s

 restrictive covenant obligations contained a copy of her restrictive covenant

 agreement with Randstad.

                                          11
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 13 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 129 of 203 PageID 1234




 RESPONSE:



 REQUEST NO. 32:

       Admit that you received a letter from Randstad regarding Brendan Farrand’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 33:

       Admit that Andy Wang received a letter from Randstad regarding Brendan

 Farrand’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 34:

       Admit that the letter from Randstad regarding Brendan Farrand’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:




                                         12
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 14 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 130 of 203 PageID 1235




 REQUEST NO. 35:

       Admit that you received a letter from Randstad regarding Amanda

 Gaughan’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 36:

       Admit that Andy Wang received a letter from Randstad regarding Amanda

 Gaughan’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 37:

       Admit that the letter from Randstad regarding Amanda Gaughan’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 38:

       Admit that you received a letter from Randstad regarding Kurren Gill’s

 restrictive covenant obligations to Randstad.




                                         13
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 15 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 131 of 203 PageID 1236




 RESPONSE:



 REQUEST NO. 39:

       Admit that Andy Wang received a letter from Randstad regarding Kurren

 Gill’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 40:

       Admit that the letter from Randstad regarding Kurren Gill’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 41:

       Admit that you received a letter from Randstad regarding Reed Goodman’s

 restrictive covenant obligations to Randstad.

 RESPONSE:




                                          14
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 16 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 132 of 203 PageID 1237




 REQUEST NO. 42:

       Admit that Andy Wang received a letter from Randstad regarding Reed

 Goodman’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 43:

       Admit that the letter from Randstad regarding Reed Goodman’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 44:

       Admit that you received a letter from Randstad regarding Jessica Hamelin’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 45:

       Admit that Andy Wang received a letter from Randstad regarding Jessica

 Hamelin’s restrictive covenant obligations to Randstad.




                                         15
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 17 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 133 of 203 PageID 1238




 RESPONSE:



 REQUEST NO. 46:

       Admit that the letter from Randstad regarding Jessica Hamelin’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 47:

       Admit that you received a letter from Randstad regarding Shakira Irizarry’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 48:

       Admit that Andy Wang received a letter from Randstad regarding Shakira

 Irizarry’s restrictive covenant obligations to Randstad.

 RESPONSE:




                                          16
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 18 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 134 of 203 PageID 1239




 REQUEST NO. 49:

       Admit that the letter from Randstad regarding Shakira Irizarry’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 50:

       Admit that you received a letter from Randstad regarding Sherick Jansen’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 51:

       Admit that Andy Wang received a letter from Randstad regarding Sherick

 Jansen’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 52:

       Admit that the letter from Randstad regarding Sherick Jansen’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

                                         17
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 19 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 135 of 203 PageID 1240




 RESPONSE:



 REQUEST NO. 53:

       Admit that you received a letter from Randstad regarding Kathleen Keliher’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 54:

       Admit that Andy Wang received a letter from Randstad regarding Kathleen

 Keliher’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 55:

       Admit that the letter from Randstad regarding Kathleen Keliher’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:




                                          18
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 20 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 136 of 203 PageID 1241




 REQUEST NO. 56:

       Admit that you received a letter from Randstad regarding Trish Kellogg’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 57:

       Admit that Andy Wang received a letter from Randstad regarding Trish

 Kellogg’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 58:

       Admit that the letter from Randstad regarding Trish Kellogg’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 59:

       Admit that you received a letter from Randstad regarding Kathryn Kohl’s

 restrictive covenant obligations to Randstad.




                                         19
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 21 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 137 of 203 PageID 1242




 RESPONSE:



 REQUEST NO. 60:

       Admit that Andy Wang received a letter from Randstad regarding Kathryn

 Kohl’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 61:

       Admit that the letter from Randstad regarding Kathryn Kohl’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 62:

       Admit that you received a letter from Randstad regarding Sean Laubert’s

 restrictive covenant obligations to Randstad.

 RESPONSE:




                                         20
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 22 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 138 of 203 PageID 1243




 REQUEST NO. 63:

       Admit that Andy Wang received a letter from Randstad regarding Sean

 Laubert’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 64:

       Admit that the letter from Randstad regarding Sean Laubert’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 65:

       Admit that you received a letter from Randstad regarding Kim Leckenby’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 66:

       Admit that Andy Wang received a letter from Randstad regarding Kim

 Leckenby’s restrictive covenant obligations to Randstad.




                                         21
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 23 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 139 of 203 PageID 1244




 RESPONSE:



 REQUEST NO. 67:

       Admit that the letter from Randstad regarding Kim Leckenby’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 68:

       Admit that you received a letter from Randstad regarding Joseph Lucchese’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 69:

       Admit that Andy Wang received a letter from Randstad regarding Joseph

 Lucchese’s restrictive covenant obligations to Randstad.

 RESPONSE:




                                         22
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 24 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 140 of 203 PageID 1245




 REQUEST NO. 70:

       Admit that the letter from Randstad regarding Joseph Lucchese’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 71:

       Admit that you received a letter from Randstad regarding Jarrod Marshall’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 72:

       Admit that Andy Wang received a letter from Randstad regarding Jarrod

 Marshall’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 73:

       Admit that the letter from Randstad regarding Jarrod Marshall’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

                                         23
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 25 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 141 of 203 PageID 1246




 RESPONSE:



 REQUEST NO. 74:

       Admit that you received a letter from Randstad regarding Karina Montero

 (Parker)’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 75:

       Admit that Andy Wang received a letter from Randstad regarding Karina

 Montero (Parker)’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 76:

       Admit that the letter from Randstad regarding Karina Montero (Parker)’s

 restrictive covenant obligations contained a copy of her restrictive covenant

 agreement with Randstad.

 RESPONSE:




                                          24
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 26 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 142 of 203 PageID 1247




 REQUEST NO. 77:

       Admit that you received a letter from Randstad regarding Ashlie Moseley’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 78:

       Admit that Andy Wang received a letter from Randstad regarding Ashlie

 Moseley’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 79:

       Admit that the letter from Randstad regarding Ashlie Mosely’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 80:

       Admit that you received a letter from Randstad regarding Stephen

 Morrison’s restrictive covenant obligations to Randstad.




                                         25
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 27 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 143 of 203 PageID 1248




 RESPONSE:



 REQUEST NO. 81:

       Admit that Andy Wang received a letter from Randstad regarding Stephen

 Morrison’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 82:

       Admit that the letter from Randstad regarding Stephen Morrison’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 83:

       Admit that you received a letter from Randstad regarding Matthew O'Neil’s

 restrictive covenant obligations to Randstad.

 RESPONSE:




                                         26
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 28 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 144 of 203 PageID 1249




 REQUEST NO. 84:

       Admit that Andy Wang received a letter from Randstad regarding Matthew

 O'Neil’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 85:

       Admit that the letter from Randstad regarding Matthew O’Neil’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 86:

       Admit that you received a letter from Randstad regarding Jillian O'Neill’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 87:

       Admit that Andy Wang received a letter from Randstad regarding Jillian

 O'Neill’s restrictive covenant obligations to Randstad.




                                          27
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 29 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 145 of 203 PageID 1250




 RESPONSE:



 REQUEST NO. 88:

       Admit that the letter from Randstad regarding Jillian O’Neill’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 89:

       Admit that you received a letter from Randstad regarding Maricela

 Ostrand’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 90:

       Admit that Andy Wang received a letter from Randstad regarding Maricela

 Ostrand’s restrictive covenant obligations to Randstad.

 RESPONSE:




                                         28
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 30 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 146 of 203 PageID 1251




 REQUEST NO. 91:

       Admit that the letter from Randstad regarding Maricela Ostrand’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 92:

       Admit that you received a letter from Randstad regarding Brad Ottoson’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 93:

       Admit that Andy Wang received a letter from Randstad regarding Brad

 Ottoson’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 94:

       Admit that the letter from Randstad regarding Brad Ottoson’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

                                         29
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 31 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 147 of 203 PageID 1252




 RESPONSE:



 REQUEST NO. 95:

       Admit that you received a letter from Randstad regarding Antoinette Panza’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 96:

       Admit that Andy Wang received a letter from Randstad regarding Antoinette

 Panza’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 97:

       Admit that the letter from Randstad regarding Antoinette Panza’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:




                                         30
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 32 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 148 of 203 PageID 1253




 REQUEST NO. 98:

       Admit that you received a letter from Randstad regarding Lindsey Paskvan’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 99:

       Admit that Andy Wang received a letter from Randstad regarding Lindsey

 Paskvan’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 100:

       Admit that the letter from Randstad regarding Lindsey Paskvan’s restrictive

 covenant obligations contained a copy of her restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 101:

       Admit that you received a letter from Randstad regarding Todal Patel’s

 restrictive covenant obligations to Randstad.




                                         31
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 33 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 149 of 203 PageID 1254




 RESPONSE:



 REQUEST NO. 102:

       Admit that Andy Wang received a letter from Randstad regarding Todal

 Patel’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 103:

       Admit that the letter from Randstad regarding Todal Patel’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 104:

       Admit that you received a letter from Randstad regarding Ryan Pirnat’s

 restrictive covenant obligations to Randstad.

 RESPONSE:




                                          32
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 34 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 150 of 203 PageID 1255




 REQUEST NO. 105:

       Admit that Andy Wang received a letter from Randstad regarding Ryan

 Pirnat’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 106:

       Admit that the letter from Randstad regarding Ryan Pirnat’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 107:

       Admit that you received a letter from Randstad regarding Travis Reding’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 108:

       Admit that Andy Wang received a letter from Randstad regarding Travis

 Reding’s restrictive covenant obligations to Randstad.




                                          33
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 35 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 151 of 203 PageID 1256




 RESPONSE:



 REQUEST NO. 109:

       Admit that the letter from Randstad regarding Travis Reding’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:



 REQUEST NO. 110:

       Admit that you received a letter from Randstad regarding Karen (Karina)

 Rigano’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 111:

       Admit that Andy Wang received a letter from Randstad regarding Karen

 (Karina) Rigano’s restrictive covenant obligations to Randstad.

 RESPONSE:




                                         34
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 36 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 152 of 203 PageID 1257




 REQUEST NO. 112:

       Admit that the letter from Randstad regarding Karen (Karina) Rigano’s

 restrictive covenant obligations contained a copy of her restrictive covenant

 agreement with Randstad.

 RESPONSE:



 REQUEST NO. 113:

       Admit that you received a letter from Randstad regarding Aprajita

 Srivastava’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 114:

       Admit that Andy Wang received a letter from Randstad regarding Aprajita

 Srivastava’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 115:

       Admit that the letter from Randstad regarding Aprajita Srivastava’s

 restrictive covenant obligations contained a copy of her restrictive covenant

 agreement with Randstad.

                                          35
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 37 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 153 of 203 PageID 1258




 RESPONSE:



 REQUEST NO. 116:

       Admit that you received a letter from Randstad regarding Mark Todd’s

 restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 117:

       Admit that Andy Wang received a letter from Randstad regarding Mark

 Todd’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 118:

       Admit that the letter from Randstad regarding Mark Todd’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:




                                         36
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 38 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 154 of 203 PageID 1259




 REQUEST NO. 119:

       Admit that you received a letter from Randstad regarding Bailey (Giacci)

 Ulrich’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 120:

       Admit that Andy Wang received a letter from Randstad regarding Bailey

 (Giacci) Ulrich’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 121:

       Admit that the letter from Randstad regarding Bailey (Giacci) Ulrich’s

 restrictive covenant obligations contained a copy of her restrictive covenant

 agreement with Randstad.

 RESPONSE:



 REQUEST NO. 122:

       Admit that you received a letter from Randstad regarding John Williams’s

 restrictive covenant obligations to Randstad.




                                          37
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 39 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 155 of 203 PageID 1260




 RESPONSE:



 REQUEST NO. 123:

       Admit that Andy Wang received a letter from Randstad regarding John

 Williams’s restrictive covenant obligations to Randstad.

 RESPONSE:



 REQUEST NO. 124:

       Admit that the letter from Randstad regarding John Williams’s restrictive

 covenant obligations contained a copy of his restrictive covenant agreement with

 Randstad.

 RESPONSE:




                                         38
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 40 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 156 of 203 PageID 1261




                                    s/Robert C. Stevens
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                                    Alex Meier
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                                    ameier@seyfarth.com
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                                    Erik W. Weibust (admitted pro hac vice)
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                                    Boston, Massachusetts 02210
                                    Telephone: (617) 946-4800
                                    Facsimile: (617) 946-4801

                                    Counsel for Plaintiff Randstad General
                                    Partner (US), LLC
 Dated: November 22, 2019




                                     39
       Case 1:19-cv-01655-ODE Document 64-4 Filed 12/23/19 Page 41 of 41
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 157 of 203 PageID 1262




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
 RANDSTAD GENERAL PARTNER
 (US), LLC,
                 Plaintiff,
                                             Civil Action No.
       v.                                    1:19-cv-01655-ODE
 BEACON HILL STAFFING GROUP,
 LLC, SHAWNA BESTREICH, and
 ERIK ADAMS,
                 Defendants.

                              CERTIFICATE OF SERVICE

       I certify that on November 22, 2019, the foregoing was served via e-mail to

 the following attorneys of record:

                              Benjamin I. Fink
                              Lea C. Dearing
                              BERMAN FINK VAN HORN P.C.
                              3475 Piedmont Road, N.E.
                              Suite 1100
                              Atlanta, Georgia 30305


                                      By: /s/ Alex Meier
                                          Alex Meier




                                        40
        Case 1:19-cv-01655-ODE Document 64-5 Filed 12/23/19 Page 1 of 5
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 158 of 203 PageID 1263




                          EXHIBIT D
        Case 1:19-cv-01655-ODE Document 64-5 Filed 12/23/19 Page 2 of 5
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 159 of 203 PageID 1264




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
 RANDSTAD GENERAL PARTNER
 (US), LLC,
                  Plaintiff,
                                            Civil Action No.
         v.                                 1:19-cv-01655-ODE
 BEACON HILL STAFFING GROUP,
 LLC, SHAWNA BESTREICH, and
 ERIK ADAMS,
                  Defendants.


            PLAINTIFF’S SECOND SET OF INTERROGATORIES
          TO DEFENDANT BEACON HILL STAFFING GROUP, LLC

         Plaintiff Randstad General Partner (US), LLC (“Randstad”), pursuant to

 Rule 33 of the Federal Rules of Civil Procedure, submits the following

 interrogatories to Beacon Hill Staffing Group, LLC (“Beacon Hill”) and requests

 that they be answered separately, fully, and under oath, and be delivered to

 Seyfarth Shaw LLP, 1075 Peachtree Street, Suite 2500, Atlanta, Georgia 30309-

 3962.

                       DEFINITIONS AND INSTRUCTIONS

         A.   Randstad incorporates by reference the definitions and instructions

 from its First Set of Interrogatories.
        Case 1:19-cv-01655-ODE Document 64-5 Filed 12/23/19 Page 3 of 5
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 160 of 203 PageID 1265




                               INTERROGATORIES
 INTERROGATORY NO. 1:

       Please describe in detail when and how you first became aware that

 Bestreich and Adams had restrictive covenant agreements with Randstad.

 ANSWER:



 INTERROGATORY NO. 2:

       Please describe in detail any restrictions, if any, you imposed on Bestreich

 and/or Adams because of her/his restrictive covenant agreement with Randstad.

 ANSWER:



 INTERROGATORY NO. 3:

       Identify every agreement that you entered into as the result of actual or

 potential litigation that included a no-hire provision, employee non-solicitation

 provision, or similar provision restricting your ability to hire or solicit for hire the

 employees of another staffing company.

 ANSWER:




                                           -2-
        Case 1:19-cv-01655-ODE Document 64-5 Filed 12/23/19 Page 4 of 5
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 161 of 203 PageID 1266




 INTERROGATORY NO. 4:

       To the extent not otherwise produced, identify all cease and desist letters you

 received from Randstad since January 1, 2014.

 ANSWER:




                                       s/ Robert C. Stevens
                                       Robert C. Stevens
                                       Georgia Bar No. 680142
                                       bstevens@seyfarth.com
                                       Alex Meier
                                       Ga. Bar No. 282350
                                       ameier@seyfarth.com
                                       SEYFARTH SHAW LLP
                                       1075 Peachtree Street, N.E.
                                       Suite 2500
                                       Atlanta, Georgia 30309-3962
                                       Telephone: (404) 885-1500
                                       Facsimile: (404) 892-7056

                                       Erik W. Weibust (admitted pro hac vice)
                                       eweibust@seyfarth.com
                                       SEYFARTH SHAW LLP
                                       Two Seaport Lane, Suite 300
                                       Boston, Massachusetts 02210
                                       Telephone: (617) 946-4800
                                       Facsimile: (617) 946-4801

                                       Counsel for Plaintiff Randstad General
                                       Partner (US), LLC
 Dated: November 22, 2019




                                          -3-
        Case 1:19-cv-01655-ODE Document 64-5 Filed 12/23/19 Page 5 of 5
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 162 of 203 PageID 1267




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 RANDSTAD GENERAL PARTNER
 (US), LLC,
                 Plaintiff,
                                              Civil Action No.
       v.                                     1:19-cv-01655-ODE
 BEACON HILL STAFFING GROUP,
 LLC, SHAWNA BESTREICH, and
 ERIK ADAMS,
                 Defendants.

                              CERTIFICATE OF SERVICE

       I certify that on November 22, 2019, the foregoing was served via e-mail to

 the following counsel of record:

                              Benjamin I. Fink
                              Lea C. Dearing
                              BERMAN FINK VAN HORN P.C.
                              3475 Piedmont Road, N.E.
                              Suite 1100
                              Atlanta, Georgia 30305


                                      By: /s/ Alex Meier
                                          Alex Meier




                                        -4-
   60336754v.1
        Case 1:19-cv-01655-ODE Document 64-6 Filed 12/23/19 Page 1 of 6
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 163 of 203 PageID 1268




                          EXHIBIT E
        Case 1:19-cv-01655-ODE Document 64-6 Filed 12/23/19 Page 2 of 6
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 164 of 203 PageID 1269




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
 RANDSTAD GENERAL PARTNER
 (US), LLC,
                 Plaintiff,
                                              Civil Action No.
       v.                                     1:19-cv-01655-ODE
 BEACON HILL STAFFING GROUP,
 LLC, SHAWNA BESTREICH, and
 ERIK ADAMS,
                 Defendants.


    PLAINTIFF’S SECOND SET OF REQUESTS FOR PRODUCTION TO
         DEFENDANT BEACON HILL STAFFING GROUP, LLC

       Plaintiff Randstad General Partner (US), LLC (“Randstad”), pursuant to

 Rule 34 of the Federal Rules of Civil Procedure, submits the following requests for

 production to Defendant Beacon Hill Staffing Group, LLC (“Beacon Hill”) and

 requests that Beacon Hill produce the following documents, along with complete

 written responses to the Requests below, to Seyfarth Shaw LLP, 1075 Peachtree

 Street, Suite 2500, Atlanta, Georgia 30309-3962.

                      DEFINITIONS AND INSTRUCTIONS

       A.     Randstad incorporates by reference the definitions and instructions

 from its First Set of Requests for Production.
        Case 1:19-cv-01655-ODE Document 64-6 Filed 12/23/19 Page 3 of 6
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 165 of 203 PageID 1270




                REQUESTS FOR DOCUMENTS AND THINGS
 REQUEST NO. 1:

       All cease and desist letters sent by or on behalf of Randstad to you or a

 former Randstad employee you hired since January 1, 2014.

 RESPONSE:



 REQUEST NO. 2:

       All copies of Randstad agreement containing restrictive covenants in your

 possession, custody, or control.

 RESPONSE:



 REQUEST NO. 3:

       All documents and communications received by Andy Wang regarding his

 and/or Beacon Hill’s receipt of any cease and desist letter sent by or on behalf of

 Randstad since January 1, 2014.

 RESPONSE:



 REQUEST NO. 4:

       All documents and communications regarding Beacon Hill’s receipt of any

 cease and desist letter sent by or on behalf of Randstad since January 1, 2014.


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        Case 1:19-cv-01655-ODE Document 64-6 Filed 12/23/19 Page 4 of 6
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 166 of 203 PageID 1271




 RESPONSE:



 REQUEST NO. 5:

       All documents and communications sent or received since January 1, 2014

 where Steven Drooker, Andy Wang, Charlie Cain, and/or the individual(s) with

 settlement authority in any lawsuit filed against Beacon Hill for restrictive

 covenant violations describe or discuss Beacon Hill’s and/or his or her position or

 beliefs about covenants restricting competition or solicitation.

 RESPONSE:



 REQUEST NO. 6:

       All documents and communications regarding Beacon Hill’s acceptance

 and/or implementation of any no-hire or employee non-solicitation provision in a

 settlement agreement or other agreement ancillary to the resolution of actual or

 potential litigation. This request is limited to no-hire agreements implemented on

 or after January 1, 2010.

 RESPONSE:




                                          -3-
        Case 1:19-cv-01655-ODE Document 64-6 Filed 12/23/19 Page 5 of 6
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 167 of 203 PageID 1272




                                    s/Robert C. Stevens
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                                    Georgia Bar No. 282350
                                    ameier@seyfarth.com
                                    SEYFARTH SHAW LLP
                                    1075 Peachtree Street, N.E.
                                    Suite 2500
                                    Atlanta, Georgia 30309-3962
                                    Telephone: (404) 885-1500
                                    Facsimile: (404) 892-7056

                                    Erik W. Weibust (admitted pro hac vice)
                                    eweibust@seyfarth.com
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                                    Two Seaport Lane, Suite 300
                                    Boston, Massachusetts 02210
                                    Telephone: (617) 946-4800
                                    Facsimile: (617) 946-4801

                                    Counsel for Plaintiff Randstad General
                                    Partner (US), LLC
 Dated: November 22, 2019




                                     -4-
        Case 1:19-cv-01655-ODE Document 64-6 Filed 12/23/19 Page 6 of 6
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 168 of 203 PageID 1273




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

   RANDSTAD GENERAL PARTNER
           (US), LLC,

                   Plaintiff,
                                                        Civil Action No.
                       v.                             1:19-cv-01655-ODE

   BEACON HILL STAFFING GROUP,
    LLC, SHAWNA BESTREICH, and
           ERIK ADAMS,

                  Defendants.

                            CERTIFICATE OF SERVICE
          I certify that on November 22, 2019, the foregoing was served via e-mail to

 the following attorneys of record:

                                Benjamin I. Fink
                                Lea C. Dearing
                                BERMAN FINK VAN HORN P.C.
                                3475 Piedmont Road, N.E.
                                Suite 1100
                                Atlanta, Georgia 30305


                                         By: /s/ Alex Meier
                                             Alex Meier




   60336253v.1                            -5-
        Case 1:19-cv-01655-ODE Document 64-7 Filed 12/23/19 Page 1 of 8
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 169 of 203 PageID 1274




                         EXHIBIT F
        Case 1:19-cv-01655-ODE Document 64-7 Filed 12/23/19 Page 2 of 8
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 170 of 203 PageID 1275




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
 RANDSTAD GENERAL PARTNER
 (US), LLC,
                 Plaintiff,
                                               Civil Action No.
       v.                                      1:19-cv-01655-ODE
 BEACON HILL STAFFING GROUP,
 LLC, SHAWNA BESTREICH, and
 ERIK ADAMS,
                 Defendants.


     PLAINTIFF’S SECOND SET OF REQUESTS FOR ADMISSION TO
         DEFENDANT BEACON HILL STAFFING GROUP, LLC

       Plaintiff Randstad General Partner (US), LLC (“Randstad”), pursuant to

 Rule 36 of the Federal Rules of Civil Procedure, submits the following requests for

 admission to Defendant Beacon Hill Staffing Group, LLC (“Beacon Hill”) and

 request that Beacon Hill answer , in writing the following requests for admission

 within thirty days.

                                  INSTRUCTIONS
       1.     Beacon Hill is instructed that each of the statements it is requested to

 admit will be deemed to have been admitted unless, within thirty (30) days after

 service of this request, Beacon Hill serves upon Randstad either (1) a statement

 denying specifically the matters they are requested to admit or setting forth in

 detail the reasons why they cannot truthfully admit or deny those matters or (2)
        Case 1:19-cv-01655-ODE Document 64-7 Filed 12/23/19 Page 3 of 8
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 171 of 203 PageID 1276




 written objections on the ground that some or all of the requested admissions are

 privileged or irrelevant or that the request is otherwise improper in whole or in

 part.

         2.   If written objections to a part of the request are made, the remainder

 of the request shall be answered within the period designated in the request. A

 denial shall fairly meet the substance of the requested admission. If good faith

 requires that Beacon Hill deny only a part, or requires qualification of a matter they

 are requested to admit, Beacon Hill shall specify so much of it as is true and deny

 only the remainder.

         3.   Without being requested to do so by Randstad, Beacon Hill must

 promptly amend any answer when it is discovered to have been incorrect when

 made, or it is discovered to be no longer true and circumstances are such that a

 failure to amend is in substance a knowing concealment. In addition, Beacon Hill

 must promptly supplement any answer in the event that, prior to final disposition

 of this action, additional information comes to the attention of, or becomes

 available to Beacon Hill, Beacon Hill’s attorneys, consultants, representatives,

 agents or any other person acting on behalf of Beacon Hill.




                                           2
        Case 1:19-cv-01655-ODE Document 64-7 Filed 12/23/19 Page 4 of 8
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 172 of 203 PageID 1277




                                   DEFINITIONS
       A.     Randstad incorporates by reference the definitions and instructions

 from its First Set of Requests for Production.

                          REQUESTS FOR ADMISSION

 REQUEST NO. 1:

       Admit that you do not have a written policy or procedure to screen new hires

 for restrictive covenant agreements with prior employers.

 RESPONSE:



 REQUEST NO. 2:

       Admit that you do not have any policy or procedure to screen new hires for

 restrictive covenant agreements with prior employers.

 RESPONSE:



 REQUEST NO. 3:

       Admit that you have a formal or informal policy or procedure to not screen

 new hires for restrictive covenant agreements with prior employers.

 RESPONSE:




                                           3
        Case 1:19-cv-01655-ODE Document 64-7 Filed 12/23/19 Page 5 of 8
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 173 of 203 PageID 1278




 REQUEST NO. 4:

       Admit that you do not want to know whether a prospective employee has

 any restrictive covenants at the time you extend an offer of employment to the

 prospective employee.

 RESPONSE:



 REQUEST NO. 5:

       Admit that you do not know whether a prospective employee has any

 restrictive covenants at the time you extend an offer of employment to the

 prospective employee.

 RESPONSE:



 REQUEST NO. 6:

       Admit that Charlie Cain has never asked a prospective employee whether the

 prospective employee has a restrictive covenant agreement with a prior employer

 before extending an offer to such prospective employee.

 RESPONSE:




                                          4
        Case 1:19-cv-01655-ODE Document 64-7 Filed 12/23/19 Page 6 of 8
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 174 of 203 PageID 1279




 REQUEST NO. 7:

       Admit that it would be feasible for you to ask prospective hires whether they

 had any restrictive covenant agreement with a prior employer that might affect

 their ability to perform their jobs.

 RESPONSE:



 REQUEST NO. 8:

       Admit that it would be feasible for you to ask new hires whether they had

 any restrictive covenant agreement with a prior employer that might affect their

 ability to perform their jobs.

 RESPONSE:



 REQUEST NO. 9:

       Admit that, at some point during your operations, you implemented a

 process to avoid hiring employees from one or more competitors.

 RESPONSE:




                                          5
        Case 1:19-cv-01655-ODE Document 64-7 Filed 12/23/19 Page 7 of 8
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 175 of 203 PageID 1280




                                    /s/ Alex Meier
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                                    bstevens@seyfarth.com
                                    Alex Meier
                                    Georgia Bar No. 282350
                                    ameier@seyfarth.com
                                    SEYFARTH SHAW LLP
                                    1075 Peachtree Street, N.E.
                                    Suite 2500
                                    Atlanta, Georgia 30309-3962
                                    Telephone: (404) 885-1500
                                    Facsimile: (404) 892-7056

                                    Erik W. Weibust (admitted pro hac vice)
                                    eweibust@seyfarth.com
                                    SEYFARTH SHAW LLP
                                    Two Seaport Lane, Suite 300
                                    Boston, Massachusetts 02210
                                    Telephone: (617) 946-4800
                                    Facsimile: (617) 946-4801

                                    Counsel for Plaintiff Randstad General
                                    Partner (US), LLC
 Dated: December 13, 2019




                                      6
        Case 1:19-cv-01655-ODE Document 64-7 Filed 12/23/19 Page 8 of 8
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 176 of 203 PageID 1281




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
 RANDSTAD GENERAL PARTNER
 (US), LLC,
                 Plaintiff,
                                            Civil Action No.
       v.                                   1:19-cv-01655-ODE
 BEACON HILL STAFFING GROUP,
 LLC, SHAWNA BESTREICH, and
 ERIK ADAMS,
                 Defendants.

                              CERTIFICATE OF SERVICE

       I certify that on December 13, 2019, the foregoing was served via e-mail to

 the following attorneys of record:

                              Benjamin I. Fink
                              Lea C. Dearing
                              BERMAN FINK VAN HORN P.C.
                              3475 Piedmont Road, N.E.
                              Suite 1100
                              Atlanta, Georgia 30305


                                      By: /s/ Alex Meier
                                          Alex Meier




                                        7
        Case 1:19-cv-01655-ODE Document 64-8 Filed 12/23/19 Page 1 of 7
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 177 of 203 PageID 1282




                        EXHIBIT G
        Case 1:19-cv-01655-ODE Document 64-8 Filed 12/23/19 Page 2 of 7
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 178 of 203 PageID 1283




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
 RANDSTAD GENERAL PARTNER
 (US), LLC,
                 Plaintiff,
                                              Civil Action No.
       v.                                     1:19-cv-01655-ODE
 BEACON HILL STAFFING GROUP,
 LLC, SHAWNA BESTREICH, and
 ERIK ADAMS,
                 Defendants.


            PLAINTIFF’S REVISED NOTICE OF DEPOSITION OF
                 BEACON HILL STAFFING GROUP, LLC

 To:   Beacon Hill Staffing Group, LLC
       c/o Benjamin I. Fink and Lea C. Dearing
       BERMAN FINK VAN HORN P.C.
       3475 Piedmont Road, N.E.
       Suite 1100
       Atlanta, Georgia 30305

       PLEASE TAKE NOTICE that Plaintiff Randstad General Partner (US),

 LLC, pursuant to Rules 26 and 30(b)(6) of the Federal Rules of Civil Procedure,

 will take the deposition of Defendant Beacon Hill Staffing Group, LLC’s (“Beacon

 Hill”) corporate representative with regard to the matters identified in Exhibit A

 on Wednesday, January 8, 2019, beginning at 9:00 a.m. The deposition will be

 held at the law office of Seyfarth Shaw LLP, Seaport East, Suite 300, Two Seaport

 Lane, Boston, MA 02210. The deposition will continue until completed, subject to
        Case 1:19-cv-01655-ODE Document 64-8 Filed 12/23/19 Page 3 of 7
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 179 of 203 PageID 1284




 the limitations prescribed by the Federal Rules of Civil Procedure and such

 adjournment as may be agreed upon by the parties. This deposition will be taken

 by stenographic means before a notary public or other official authorized by law to

 administer oaths.


                                       s/ Robert C. Stevens
                                       Robert C. Stevens
                                       Georgia Bar No. 680142
                                       bstevens@seyfarth.com
                                       Alex Meier
                                       Ga. Bar No. 282350
                                       ameier@seyfarth.com
                                       SEYFARTH SHAW LLP
                                       1075 Peachtree Street, N.E.
                                       Suite 2500
                                       Atlanta, Georgia 30309-3962
                                       Telephone: (404) 885-1500
                                       Facsimile: (404) 892-7056

                                       Erik W. Weibust (admitted pro hac vice)
                                       eweibust@seyfarth.com
                                       SEYFARTH SHAW LLP
                                       Two Seaport Lane, Suite 300
                                       Boston, Massachusetts 02210
                                       Telephone: (617) 946-4800
                                       Facsimile: (617) 946-4801

                                       Counsel for Plaintiff Randstad General
                                       Partner (US), LLC




                                         -2-
        Case 1:19-cv-01655-ODE Document 64-8 Filed 12/23/19 Page 4 of 7
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 180 of 203 PageID 1285




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 RANDSTAD GENERAL PARTNER
 (US), LLC,
                Plaintiff,
                                               Civil Action No.
       v.                                      1:19-cv-01655-ODE
 BEACON HILL STAFFING GROUP,
 LLC, SHAWNA BESTREICH, and
 ERIK ADAMS,
                Defendants.



                             CERTIFICATE OF SERVICE

       I certify that on December 9, 2019, the foregoing was served via e-mail to the

 following counsel of record:

                             Benjamin I. Fink
                             Lea C. Dearing
                             BERMAN FINK VAN HORN P.C.
                             3475 Piedmont Road, N.E.
                             Suite 1100
                             Atlanta, Georgia 30305


                                       By: /s/ Alex Meier
                                           Alex Meier




                                         -3-
        Case 1:19-cv-01655-ODE Document 64-8 Filed 12/23/19 Page 5 of 7
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 181 of 203 PageID 1286




                                       Exhibit A
 1.    Beacon Hill’s organizational structure, operating divisions, and members.

 2.    The citizenship of Beacon Hill’s members.

 3.     Beacon Hill’s hiring strategy and practices, including Beacon Hill’s pre-
 hiring review of other companies’ restrictive covenant agreements and measures
 implemented to comply with other companies’ restrictive covenants, as well as any
 changes to such review or screening measures that Beacon Hill has implemented
 since January 1, 2010.

 4.     Andy Wang’s involvement in Beacon Hill’s hiring of employees from
 staffing firms, including Randstad.

 5.     Beacon Hill’s implementation of any no-hire or non-solicitation agreement
 entered into as the result of actual or potential litigation since January 1, 2010, the
 steps it took to comply with any such agreement(s), whether any violations of such
 agreement(s) occurred, and any change in practice after the expiration of any such
 agreement(s).

 6.    The opinions, philosophies, or beliefs of Beacon Hill and/or its executive
 team regarding non-competes and non-solicit agreements.

 7.     Beacon Hill’s budget and forecasting for restrictive covenant litigation since
 2010, including, but not limited to, Beacon Hill’s involvement in restrictive
 covenant litigation, its incurred expenses, and the terms and conditions of any
 settlements.

 8.    Beacon Hill’s litigation with Aerotek, Robert Half International, Insight
 Global, and Randstad, including the terms and conditions of the
 resolution/settlement of any such litigation.

 9.    The number and identity of all Randstad employees who Beacon Hill hired
 within twelve (12) months after leaving Randstad, including whether Beacon Hill
 inquired or became aware of any restrictive covenant agreement relating to the
 former Randstad employees.




                                           -4-
        Case 1:19-cv-01655-ODE Document 64-8 Filed 12/23/19 Page 6 of 7
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 182 of 203 PageID 1287




 10. The facts and circumstances resulting in the hiring and employment of the
 employees identified in Paragraph 83 of Randstad’s Complaint and in Randstad’s
 Requests for Admission.

 11. The facts and circumstances regarding when Beacon Hill became aware of
 Bestrich’s and Adams’s restrictive covenant agreements with Randstad.

 12.   Beacon Hill’s receipt of cease and desist letters from Randstad.

 13. Beacon Hill’s knowledge of Randstad’s use and enforcement of restrictive
 covenant agreements.

 14.   Bestreich’s and Adams’s job duties and activities on behalf on Beacon Hill.

 15.   Sales and profits generated by Bestreich or Adams on behalf of Beacon Hill.

 16.   Bestreich’s and Adams’s expense reports.

 17. The facts and circumstances relating to Beacon Hill’s hiring of Bestreich,
 Adams, and Mooney.

 18. Bestreich’s interactions with customers that she had material contact with at
 Randstad and which she subsequently had contact with at Beacon Hill, including
 the customers relating to any customer identified in response to Interrogatory No. 9
 to Beacon Hill or to any document produced in response to RFP No. 31 to Beacon
 Hill.

 19. Bestreich’s interactions with talent that she had material contact with at
 Randstad and which she subsequently had contact with at Beacon Hill.

 20. Adams’s interactions with customers that he had material contact with at
 Randstad and which he subsequently had contact with at Beacon Hill, including the
 customers relating to any customer identified in response to Interrogatory No. 9 to
 Beacon Hill or to any document produced in response to RFP No. 31 to Beacon
 Hill.

 21. Adams’s interactions with talent that he had material contact with at
 Randstad and which he subsequently had contact with at Beacon Hill.

 22. Any modifications to Bestreich’s job duties as a result of her restrictive
 covenant agreement with Randstad.

                                         -5-
        Case 1:19-cv-01655-ODE Document 64-8 Filed 12/23/19 Page 7 of 7
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 183 of 203 PageID 1288




 23. Any modifications to Adams’s job duties as a result of his restrictive
 covenant agreement with Randstad.

 24. The types and categories of information that Beacon Hill contends
 constitutes confidential information and/or trade secrets.

 25. Beacon Hill’s policies regarding its confidential, proprietary, and/or trade
 secret information.

 26. Beacon Hill’s restrictive covenant agreements in use since 2010 and any
 changes to Beacon Hill’s policies regarding the execution of restrictive covenant
 agreements as a condition of employment since 2010.

 27. Beacon Hill’s marketing practices and its treatment of customer identity and
 talent identity as confidential and/or as a trade secret.

 28.   Beacon Hill’s answers to the allegations in Randstad’s Complaint.

 29.   Beacon Hill’s affirmative defenses.

 30.   Beacon Hill’s responses to Randstad’s requests for production.

 31.   Beacon Hill’s answers to Randstad’s interrogatories.

 32.   Beacon Hill’s responses to Randstad’s requests for admission.

 33.   Beacon Hill’s financial performance and growth in the Dallas, Texas market.




                                         -6-
        Case 1:19-cv-01655-ODE Document 64-9 Filed 12/23/19 Page 1 of 2
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 184 of 203 PageID 1289




                        EXHIBIT H
        Case 1:19-cv-01655-ODE Document 64-9 Filed 12/23/19 Page 2 of 2
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 185 of 203 PageID 1290




           To Be Filed Under Seal
       Case 1:19-cv-01655-ODE Document 64-10 Filed 12/23/19 Page 1 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 186 of 203 PageID 1291




                         EXHIBIT I
       Case 1:19-cv-01655-ODE Document 64-10 Filed 12/23/19 Page 2 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 187 of 203 PageID 1292




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 RANDSTAD GENERAL PARTNER )
 (US), LLC                  )
                            )                    CIVIL ACTION FILE NO:
       Plaintiff,           )                    1:19-CV-01655-ODE
                            )
                            )
 v.                         )
                            )
 BEACON HILL STAFFING GROUP )
 LLC, SHAWNA BESTREICH and )
 ERIK ADAMS,                )
                            )
       Defendants.          )
                            )

                     DECLARATION OF CHARLES J. CAIN

                                            1.

       My name is Charles J. Cain. I am a resident of the Commonwealth of

 Massachusetts. I voluntarily and freely make this Declaration on my own personal

 knowledge for use as evidence in the above-styled matter, and for any and all other

 uses and purposes authorized by law. I am over eighteen years of age, am suffering

 from no legal disability, and am competent and authorized to make this Declaration

 and to testify to the statements herein.




                                            1
       Case 1:19-cv-01655-ODE Document 64-10 Filed 12/23/19 Page 3 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 188 of 203 PageID 1293




                                             2.

       I am a Managing Director and Executive Vice President of the Beacon Hill

 Associates division for Beacon Hill Staffing Group LLC (“Beacon Hill”). I am also

 a member of the Beacon Hill Executive Committee.

                                             3.

       In my role as Managing Director for Beacon Hill, I am familiar with Beacon

 Hill’s organizational structure, and through my personal knowledge and

 involvement I am familiar with this litigation. I have also reviewed corporate

 information and records to support some of the figures in this declaration.

                                             4.

       Beacon Hill is a Massachusetts limited liability company organized and

 existing under the laws of Massachusetts.

                                             5.

       There are currently 861 internal Beacon Hill employees.

                                             6.

       Beacon Hill does not keep track of or record where its employees previously

 worked. There are no files, spreadsheets or other compilations of information at

 Beacon Hill that record this type of data. I am unaware of any way Beacon Hill could

 determine how many of its employees previously worked for Randstad, or its

                                          2
       Case 1:19-cv-01655-ODE Document 64-10 Filed 12/23/19 Page 4 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 189 of 203 PageID 1294




 affiliates, other than interviewing all 861 employees or running LinkedIn searches

 which may return incomplete or inaccurate results. This would be a time-consuming

 process for which Beacon Hill would either need to employ hourly attorneys or retain

 additional employees to conduct such an investigation.

                                           7.

       I am also unaware of any way Beacon Hill could identify individuals that are

 no longer employed by Beacon Hill, but who were previously, and who also

 previously worked for Randstad and its affiliates other than through imprecise

 LinkedIn searches. Beacon Hill does not track or store this information. The

 LinkedIn information is publicly available though so that would be equally available

 to Randstad to search.

                                           8.

       Randstad has sought discovery related to Beacon Hill hires made as early as

 2008 and in states other than Texas. Those hires include: Travis Reding (2008-GA);

 Jessica Hamelin (2008-GA); Carla Andrea (2010-CA); Kathryn Kohl (2010-FL);

 Kim Leckenby (2010-PA); Maricela Ostrand (2014-IL); Ryan Pirnat (2014-IL);

 Ashley Asquith (2015-MA), among others. These names are listed in the First Set

 of Request for Admissions recently served by Plaintiff. The Request is attached as

 Exhibit C to the Motion for Protective Order.

                                          3
       Case 1:19-cv-01655-ODE Document 64-10 Filed 12/23/19 Page 5 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 190 of 203 PageID 1295




                                             9.

       There are eight distinct national divisions of Beacon Hill, which are as

 follows: (1) Beacon Hill Associates a/k/a the Admin Division; (2) Beacon Hill

 Financial; (3) Beacon Hill Government Services; (4) Beacon Hill HR; (5) Beacon

 Hill Legal; (6) Beacon Hill Pharma; (7) Beacon Hill Solutions; and (8) Beacon Hill

 Technologies.

                                             10.

       Each national division has its own distinct leadership, including a Managing

 Director who oversees each division.

                                             11.

       Each national division offers its own direct hire and temporary or contract

 staffing services to its relevant market.

                                             12.

       Each division chooses which markets to enter as well as the timing to do so,

 which individuals to hire, what criteria on which to base those hires, and its own

 compensation and bonus rates.

                                             13.

       I make decisions regarding the Admin Division independent from Beacon

 Hill’s other divisions and Managing Directors.

                                             4
       Case 1:19-cv-01655-ODE Document 64-10 Filed 12/23/19 Page 6 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 191 of 203 PageID 1296




                                            14.

        I do not coordinate with other Managing Directors on the criteria used to

 identify and select individuals to join the Admin Division. I do sometimes invite

 leadership from other divisions to interview candidates so that the candidate is able

 to see a broader cross-section of the company when evaluating if we will be a good

 fit for his or her career goals.

                                            15.

        Managing Directors and other leadership, including other Directors, for each

 national division are compensated according to the performance of that particular

 division rather than Beacon Hill’s performance as a whole.

                                            16.

        As Managing Director of the Admin Division, I am ultimately responsible for

 the hiring within the Division and I give the direction to the internal recruiters with

 respect to what characteristics and qualities to look for in potential candidates.

                                            17.

        For example, in 2018, I gave a general list of qualities of candidates and

 potential markets of interest, including Dallas to an internal recruiter, who then

 provided me with Ms. Bestreich as a potential candidate for the Dallas office.




                                            5
       Case 1:19-cv-01655-ODE Document 64-10 Filed 12/23/19 Page 7 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 192 of 203 PageID 1297




                                           18.

       As Managing Director of the Admin Division, I am ultimately responsible for

 the profits and losses of the division, which are measured independently of the other

 divisions at Beacon Hill.

                                           19.

       For example, the Admin Division is independently bearing the cost of this

 litigation as the lawsuit relates to my hiring of Ms. Bestreich and Mr. Adams for the

 Admin Division’s Dallas office.

                                           20.

       Beacon Hill does not own its employees’ cell phones. Also, based on the

 searches already conducted in connection with this litigation, even if those

 employees would agree to allow their phones to be searched, the forensic cost to

 image and search personal cell phones of the Beacon Hill employees identified by

 Randstad in its discovery requests would be approximately $5,500.00 per device.

                                           21.

       There are 108 distinct business lines across the eight divisions, 17 of which

 are in the Beacon Hill Associates division, and each of which has its own profit and

 loss statements.




                                          6
       Case 1:19-cv-01655-ODE Document 64-10 Filed 12/23/19 Page 8 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 193 of 203 PageID 1298




                                           22.

       There are 52 physical Beacon Hill office locations. The Admin Division only

 operates in 12 of the physical locations. Each of these locations also has its own

 profit and loss statements for each division within each office.

                                           23.

       The Admin Division employees work in their own unit, segregated from the

 other business units, but sharing common office space amenities like the kitchen,

 receptionist, conference and interview space.

                                           24.

       The separate Divisions send referral opportunities to each other. For example,

 the Legal Division would let the Admin Division know if a law firm was looking for

 a receptionist.

                                           25.

       There are currently 124 active employees in the Beacon Hill Admin Division.

                                           26.

       Due to Beacon Hill’s organizational structure, I can only speak to the high-

 level structure of other divisions and I am unable to testify in great detail to the

 operation and management of divisions other than the Beacon Hill Admin Division.




                                           7
       Case 1:19-cv-01655-ODE Document 64-10 Filed 12/23/19 Page 9 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 194 of 203 PageID 1299




                                            27.

       I do not have access to or knowledge of other divisions’ hiring practices,

 employee work history information, or litigation history.

                                            28.

       In order to competently testify to each of the topics identified in Randstad’s

 Revised Notice of Deposition of Beacon Hill as they relate to Beacon Hill as a whole,

 Beacon Hill would likely need to spend substantial time, at least many days, to be

 prepared to do so. It would be very difficult for any employee at Beacon Hill to be

 able to competently testify, even after substantial preparations, on the breadth of

 topics listed in the Notice of Depositions send to Beacon Hill and attached as Exhibit

                                            29.

       Beacon Hill does not document or otherwise track the previous employment

 history of its hires. There is no system or database with this information, and I have

 confirmed through the Human Resources department that no other division is




                                           8
       Case 1:19-cv-01655-ODE Document 64-10 Filed 12/23/19 Page 10 of 10
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 195 of 203 PageID 1300
        Case 1:19-cv-01655-ODE Document 64-11 Filed 12/23/19 Page 1 of 8
Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 196 of 203 PageID 1301




                         EXHIBIT J
12/23/2019                                        GEORGIA
                Case 1:19-cv-01655-ODE Document 64-11   Filed 12/23/19 Page 2 of 8
        Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 197 of 203 PageID 1302
                     GEORGIA                                                                    GEORGIA SECRETARY OF STATE
                     CORPORATIONS                                                    BRAD RAFFENSPERGER
                     DIVISION
                                                                                                                            HOME (/)
      BUSINESS SEARCH

        BUSINESS INFORMATION

                    Business Name: Randstad Federal LLC                            Control Number: 08075164
                                        Domestic Limited
                     Business Type:                                                 Business Status: Active/Compliance
                                        Liability Company
                       NAICS Code: Any legal purpose                              NAICS Sub Code:
                                    One Overton Park, 3625
                                    Cumberland Boulevard,                      Date of Formation /
          Principal Office Address:                                                                9/30/2008
                                    Suite 600, Atlanta, GA,                     Registration Date:
                                    30339, USA
                                                                          Last Annual Registration
                State of Formation: Georgia                                                        2019
                                                                                             Year:



        REGISTERED AGENT INFORMATION

         Registered Agent Name: CORPORATION SERVICE COMPANY
                                        40 TECHNOLOGY PARKWAY SOUTH, SUITE 300, NORCROSS, GA, 30092,
                  Physical Address:
                                        USA
                             County: Gwinnett


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         Back
                                                         Return to Business Search




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12/23/2019                                        GEORGIA
                Case 1:19-cv-01655-ODE Document 64-11   Filed 12/23/19 Page 3 of 8
        Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 198 of 203 PageID 1303
                     GEORGIA                                                                     GEORGIA SECRETARY OF STATE
                     CORPORATIONS                                                    BRAD RAFFENSPERGER
                     DIVISION
                                                                                                                             HOME (/)
       BUSINESS SEARCH

        BUSINESS INFORMATION

                                        RANDSTAD GENERAL
                    Business Name:                                                 Control Number: K904952
                                        PARTNER (US) LLC
                                        Foreign Limited Liability
                     Business Type:                                                 Business Status: Active/Compliance
                                        Company
                 Business Purpose: NONE
                                    3625 Cumberland Blvd,
                                                                                Date of Formation /
          Principal Office Address: Suite 600, Atlanta, GA,                                         2/2/1999
                                                                                 Registration Date:
                                    30339, USA
                                                                          Last Annual Registration
                         Jurisdiction: Delaware                                                    2019
                                                                                             Year:
        Principal Record Address: NONE



        REGISTERED AGENT INFORMATION

         Registered Agent Name: CORPORATION SERVICE COMPANY
                                        40 TECHNOLOGY PARKWAY SOUTH, SUITE 300, NORCROSS, GA, 30092,
                  Physical Address:
                                        USA
                             County: Gwinnett


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         Back
                                                         Return to Business Search




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12/23/2019                                        GEORGIA
                Case 1:19-cv-01655-ODE Document 64-11   Filed 12/23/19 Page 4 of 8
        Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 199 of 203 PageID 1304
                     GEORGIA                                                                     GEORGIA SECRETARY OF STATE
                     CORPORATIONS                                                    BRAD RAFFENSPERGER
                     DIVISION
                                                                                                                             HOME (/)
       BUSINESS SEARCH

        BUSINESS INFORMATION

                                        Randstad HR Solutions
                    Business Name:                                                 Control Number: K906347
                                        of Delaware, LLC
                                        Foreign Limited Liability
                     Business Type:                                                 Business Status: Active/Compliance
                                        Company
                 Business Purpose: NONE
                                    3625 Cumberland Blvd,
                                                                                Date of Formation /
          Principal Office Address: Suite 600, Atlanta, GA,                                         2/10/1999
                                                                                 Registration Date:
                                    30339, USA
                                                                          Last Annual Registration
                         Jurisdiction: Delaware                                                    2019
                                                                                             Year:
        Principal Record Address: NONE



        REGISTERED AGENT INFORMATION

         Registered Agent Name: CORPORATION SERVICE COMPANY
                                        40 TECHNOLOGY PARKWAY SOUTH, SUITE 300, NORCROSS, GA, 30092,
                  Physical Address:
                                        USA
                             County: Gwinnett


                                                     Filing History        Name History
         Back
                                                         Return to Business Search




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12/23/2019                                        GEORGIA
                Case 1:19-cv-01655-ODE Document 64-11   Filed 12/23/19 Page 5 of 8
        Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 200 of 203 PageID 1305
                     GEORGIA                                                                     GEORGIA SECRETARY OF STATE
                     CORPORATIONS                                                     BRAD RAFFENSPERGER
                     DIVISION
                                                                                                                              HOME (/)
       BUSINESS SEARCH

        BUSINESS INFORMATION

                                        RANDSTAD NORTH
                    Business Name:                                                  Control Number: K840703
                                        AMERICA, INC.
                                        Foreign Profit
                      Business Type:                                                 Business Status: Active/Compliance
                                        Corporation
                  Business Purpose: NONE
                                    3625 Cumberland Blvd,
                                                                                Date of Formation /
          Principal Office Address: Suite 600, Atlanta, GA,                                         11/5/1998
                                                                                 Registration Date:
                                    30339, USA
                                                                           Last Annual Registration
                         Jurisdiction: Delaware                                                     2019
                                                                                              Year:



        REGISTERED AGENT INFORMATION

          Registered Agent Name: CORPORATION SERVICE COMPANY
                                        40 TECHNOLOGY PARKWAY SOUTH, SUITE 300, NORCROSS, GA, 30092,
                  Physical Address:
                                        USA
                              County: Gwinnett



        OFFICER INFORMATION

         Name                            Title        Business Address

         JAY FERGUSON                    Secretary    3625 CUMBERLAND BLVD, SUITE 600, ATLANTA, GA, 30339, USA

         DENISE DETTINGMIEJER            CFO          3625 CUMBERLAND BLVD, SUITE 600, ATLANTA, GA, 30339, USA

         LINDA GALIPEAU                  CEO          3625 CUMBERLAND BLVD, ATLANTA, GA, 30339, USA



                                                     Filing History         Name History
         Back
                                                          Return to Business Search




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12/23/2019                                        GEORGIA
                Case 1:19-cv-01655-ODE Document 64-11   Filed 12/23/19 Page 6 of 8
        Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 201 of 203 PageID 1306
                     GEORGIA                                                                     GEORGIA SECRETARY OF STATE
                     CORPORATIONS                                                    BRAD RAFFENSPERGER
                     DIVISION
                                                                                                                            HOME (/)
       BUSINESS SEARCH

        BUSINESS INFORMATION

                                   RANDSTAD
                    Business Name: PROFESSIONALS US,                               Control Number: 08075731
                                   LLC
                                        Foreign Limited Liability
                     Business Type:                                                 Business Status: Active/Compliance
                                        Company
                 Business Purpose: NONE
                                    3625 Cumberland Blvd,
                                                                                Date of Formation /
          Principal Office Address: Suite 600, Atlanta, GA,                                         9/30/2008
                                                                                 Registration Date:
                                    30339, USA
                                                                          Last Annual Registration
                         Jurisdiction: Delaware                                                    2019
                                                                                             Year:
        Principal Record Address: NONE



        REGISTERED AGENT INFORMATION
         Registered Agent Name: CORPORATION SERVICE COMPANY
                                        40 TECHNOLOGY PARKWAY SOUTH, SUITE 300, NORCROSS, GA, 30092,
                  Physical Address:
                                        USA
                             County: Gwinnett


                                                     Filing History        Name History
         Back
                                                         Return to Business Search




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12/23/2019                                        GEORGIA
                Case 1:19-cv-01655-ODE Document 64-11   Filed 12/23/19 Page 7 of 8
        Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 202 of 203 PageID 1307
                     GEORGIA                                                                     GEORGIA SECRETARY OF STATE
                     CORPORATIONS                                                    BRAD RAFFENSPERGER
                     DIVISION
                                                                                                                            HOME (/)
       BUSINESS SEARCH

        BUSINESS INFORMATION

                                        Randstad Technologies,
                    Business Name:                                                 Control Number: 08077051
                                        LLC
                                        Foreign Limited Liability
                     Business Type:                                                 Business Status: Active/Compliance
                                        Company
                 Business Purpose: NONE
                                    3625 Cumberland Blvd,
                                                                                Date of Formation /
          Principal Office Address: Suite 600, Atlanta, GA,                                         9/30/2008
                                                                                 Registration Date:
                                    30339, USA
                                                                          Last Annual Registration
                         Jurisdiction: Delaware                                                    2019
                                                                                             Year:
        Principal Record Address: NONE



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                  Physical Address:
                                        USA
                             County: Gwinnett


                                                     Filing History        Name History
         Back
                                                         Return to Business Search




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12/23/2019                                        GEORGIA
                Case 1:19-cv-01655-ODE Document 64-11   Filed 12/23/19 Page 8 of 8
        Case 3:20-cv-02814-N-BN Document 44 Filed 12/02/20 Page 203 of 203 PageID 1308
                     GEORGIA                                                                     GEORGIA SECRETARY OF STATE
                     CORPORATIONS                                                    BRAD RAFFENSPERGER
                     DIVISION
                                                                                                                             HOME (/)
       BUSINESS SEARCH

        BUSINESS INFORMATION

                    Business Name: Randstad US, LLC                                Control Number: K908547
                                        Foreign Limited Liability
                     Business Type:                                                 Business Status: Active/Compliance
                                        Company
                 Business Purpose: NONE
                                    3625 Cumberland Blvd,
                                                                                Date of Formation /
          Principal Office Address: Suite 600, Atlanta, GA,                                         2/26/1999
                                                                                 Registration Date:
                                    30339, USA
                                                                          Last Annual Registration
                         Jurisdiction: Delaware                                                    2019
                                                                                             Year:
        Principal Record Address: NONE



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         Registered Agent Name: CORPORATION SERVICE COMPANY
                                        40 TECHNOLOGY PARKWAY SOUTH, SUITE 300, NORCROSS, GA, 30092,
                  Physical Address:
                                        USA
                             County: Gwinnett


                                                     Filing History        Name History
         Back
                                                         Return to Business Search




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